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          EXHIBIT
            “A”




 
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Q ORIGINAL
                                                                                                            I,

                         IN THE SUPERIOR COURT OF DOUGLAS COUNTY                            2018 JAN 31   PH k'


                                           STATE OF GEORGIA                                  SUPERIOR/STATE COURT
                                                                                              DOUGLAS COUNTY. GA
                                                                                        .   TAMMY H.HOWARD. CLERK




       GREG L. ALMOND AND JOCELYN                        CIVIL ACTION NO.:    : IftCyODlbD
       ALMOND,
                                                                                      oca-
                     Plaintiff,
                                                         COMPLAINT

      vs.



       THE BANK OF NEW YORK MELLON, AS
       TRUSTEE


                      Defendant




                      COMES NOW, Greg and Jocelyn Almond ("Plaintiffs") and file this Wrongful


       Foreclosure Action under OCGA § 44-14-184 and OCGA § 16-9-90 and show the court as follows:




                      Plaintiffs are the current residents/ occupants of the property known as_9914


       Scarlet Oak Drive, Douglasville, Georgia 30135 ("The Property"). Plaintiffs have resided at the


       Property since March 1995 and are subject to the Jurisdiction of this Court.




                      In March of 1995 Plaintiffs executed a Deed to Secure Debt in favor of Sunshine


       Mortgage, in the amount of $69,300. ("Principal Amount"), along with a Balloon Note in the


       amount of $62,738. ("Balloon Note Amount").


                      Said Deed to secure debt & Balloon Note were filed with the Clerk of Superior


       Court in Douglas County Georgia in deed Book 924, Page 319.




                                                               1



(*|5 5^|
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                 15 YEARS was the Term for repayment of the Principal ($69,300) plus Interest,


beginning in March 1995 until February 2010 ("Maturity Date").


               Deed to Secure Debt and Balloon Note were transferred from EMC Mortgage,


Servicing agent, to JP Morgan Chase in May 2008 (A full 13years & 5months into repayment of


the Principal & Interest).


               All payments of the Principal & Interest were paid in full by the Maturity Date in


February 2010.


               The Balloon Note amount came due in February 2010. No interest was due on


this amount of the Loan under Terms as set in the Deed to Secure Debt in Paragraphs 1 & 2 and


Balloon Note in Paragraphs in 3 & 4.




               In September of 2013 Plaintiffs filed for Bankruptcy for repayment of the Balloon


amount ($62,738.).


               A Final Order Granting Bankruptcy was signed on January 10, 2014 in The U.S.


Northern District Bankruptcy Court. Per the Order of the Court, the amount to be repaid was


$53,823.54.


               As of December 8, 2016, $47,445.43 Had been paid through the office of Mary


Ida Townson, Trustee of the U.S. Northern District Bankruptcy Court and disbursed to JP


Morgan Chase against this Debt.




                                                        2
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                                 IN VIOLATION OF Title 18 U.S.C. § 1001 (a)




              On August 3 1 ,20 1 6 JP Morgan Chase as Plaintiff filed a Motion for Relief in the

U.S. Northern District Bankruptcy Court falsely alleging that 35 Mortgage Payments had been

missed.


              This Motion sought to mislead the Court into believing that payments were due

since October 2013 and outside of the Payments to JP Morgan Chase being paid directly through

the office of Mary Ida Townson, Trustee of the U.S. Northern District Bankruptcy Court.

              All payments due were Paid into the Trustee, then Disbursed to the various


Creditors, including JP Morgan Chase. All payments were current at the time of the filing of

their Motion for Relief and no Additional payments were due.


              The Motion for Relief was accompanied by a copy of an Affidavit of Amanda


Schleich. The Affidavit claimed that no payments had been received by JP Morgan Chase since


October 2013. Said Affidavit was filed as a copy and contained no information to identify or

contact Amanda Schleich in order to verify how this person had knowledge of the facts of


Plaintiff's Bankruptcy, or any Payments made against the debt. The Attachments to the Affidavit

were Unreadable. The final Signature page contained a Graph, which is what was the only


information relied upon in Granting the Motion.


               JP Morgan Chase has a history of filing Motions for Relief using falsified


information as will be shown in the Brief in support filed with this Complaint.




                                                        3
       Case 1:18-cv-03461-MLB Document 5-1 Filed 08/03/18 Page 5 of 57




               As of this date, JP Morgan Chase has shown no Order by the Court, or any other

such Evidence, directing payments to be made outside of those being paid through the Trustee.

They have provided no proof that any such payments are owed.


               JP Morgan Chase has also given no credit for, or, accounting for the monies they

have received through the U.S. Bankruptcy Court. In the amount of ($47,445.43).




               On December 8, 2017 The U.S. Northern District Bankruptcy Court Granted the

Motion for Relief. The Court states in the Ruling that there was "No Opposition". That


statement is incorrect.


               At the Hearing the Court was deprived of hearing from the Plaintiff directly and


the Plaintiff was deprived, through Deceptive means, of the opportunity to be inside the


Courtroom at the time the Case was brought before the Court. The Plaintiff looks forward to


further explaining to this Court in this Action.




               JP Morgan Chase by and through their Attorney provided False and Misleading


information to the U.S. Northern District Bankruptcy Court in an effort to deceive the Court into


believing they were owed monies that they were not, in violation of Federal Law Title 18 U.S.C.


§ 152 (2),(3),(4) and Title 18 U.S.C. § 1001 (a).




               Plaintiffs believe this was a purposeful effort to have Plaintiffs' the case thrown


out of Bankruptcy in order to Foreclose on the Property.




                                                         4
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                JP Morgan Chase then transferred the loan to Select Portfolio Servicing.


In their Notice of Intent to Foreclose, Select Portfolio Servicing made the claim that they were


now due $108,000. ($62,386.33 Balloon Note amount & remainder in Interest) as payment on


the Property.


                Select Portfolio Servicing made no mention of credit for payments made through


the Bankruptcy. Additionally, they demanded Interest on the Balloon note amount.


        Set out in Paragraphs 1 & 2 of the Deed to Secure Debt, and Paragraphs 3 & 4 of the


Balloon Note are terms and conditions governing payment of Principal and Interest.


        Clearly stated no less than three (3) times "Interest will be charged until the Principal


($69,300.) has been paid in full."


        There are no provisions in the Deed to Secure Debt or the Balloon Note that make


exceptions for Bankruptcy filing or grants the right to collect interest on this portion of the Debt.




                In April 2017 Select Portfolio Servicing, Transferee of JP Morgan Chase,


executed a Foreclosure Action based on information they received from the above stated Motion


for Relief.


                On April 4. 2017 Select Portfolio Servicing executed a Deed Under Power, filed


in Deed Book 3492 pg. 430, listing the Default Amount as being $69,300.00, the Original


Principal Amount, which had been paid in full since February of 2010.




                                                          5
       Case 1:18-cv-03461-MLB Document 5-1 Filed 08/03/18 Page 7 of 57




               The Bank ofNew York Mellon claims to have purchased the Property for

$108,000. at Auction. The Bank ofNew York Mellon then filed a Dispossessory in the

Magistrate Court of Douglas County, Georgia.




               Upon Hearing of the Dispossessory in the Magistrate Court of Douglas County on


November 13, 2017, and Debtor's Evidence of inconsistencies in the Motion for Relief and


repayment amounts against this Debt, the Court Remanded the Dispossessory to the Superior


Court for Hearing.




               WHEREAS:      Plaintiffs in this Case entered into Bankruptcy for repayment of the


amount of the Balloon Note Amount of $62,738. Only.


               The $69,300. Principal Amount of the Deed to Secure Debt had been paid in fall


by its Due Date in February 20 1 0 with Interest under the terms of the Deed to Secure Debt.


               The "Truth in Lending Disclosure Statement" submitted at the closing of this


Loan in March 1995 shows Total repayment amount to be $212,176.49. (Includes - Principal,


Interest & Balloon amounts) .


               To this date Plaintiffs have paid a total of $197,000. Towards repayment of this


Loan (Includes - $150,000. of Principal & Interest and $47, 445.43. Of Balloon).


               Plaintiffs were within (6) payments of completing full repayment of this Debt

under the Terms of the Bankruptcy.


              The claims made in the Motion for Relief were Intentionally False. At time the


Motion was filed, There were not 35 payments left on the entirety of this Loan.




                                                       6
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                WHEREAS: In March 201 1 the U.S Department of the Treasury, through the


Office of the Comptroller of Currency, filed Suit against JP Morgan Chase for Deceptive and


Unfair Practices in Foreclosures in Case # AA-EC-1 1-15.


                That case culminated in a Consent Order filed in March 20 1 1 .


                Under Article I "Comptrollers Finding", the Government found that JP Morgan


Chase had routinely engaged in fabricating documents in order to obtain Motions for Relief, had


made false assertions about the amount of Principal & Interest due, had failed to give credit for


monies paid against a debt by Debtors, and other deceptive practices.


                In the Amended Consent Order JP Morgan Chase was Ordered to pay


Homeowners in Compensation the Amount of $753,000,000,00. For wrongdoing in residential


Foreclosures.




                The basis of the Dispossessory and the Foreclosure are rooted in the false


information set forth in the Motion for Relief.




                WHEREFORE: The Plaintiffs prays for the following Relief


                (A) The Court will Dismiss the Dispossessory filed by Defendant.


                (B) The Court will Dismiss the Foreclosure Action against the Property.


                (C) Grant full Ownership of the Property to Plaintiffs


                (D) Any such Damages as the Court deems Fair & Just




                                                        7
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             Dated this 3 1 st of January, 20 1 7.




                                                     REG ]/. ALMOND, PLAINTIFF PRO SE




Greg & Jocelyn Almond
9914 Scarlet Oak Drive
Douglasville, Georgia 30135
(678) 982-8265
greglalmond@hotmail.com




                                                         8
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            IN THE SUPERIOR COURT OF DOUGLAS COUNTY


                                  STATE OF GEORGIA



GREG L ALMOND AND JOCELYN ALMOND
PLAINTIFF
                                                      CIVIL ACTION#: 18CV00150


VS

THE BANK OF NEW YORK MELLON
DEFENDANT




                                          SUMMONS

TO THE ABOVE NAMED DEFENDANT:


       You are hereby summoned and required to file with the Clerk of said court and serve upon
the Plaintiffs attorney, whose name and address is:



                                         GREG L ALMOND
                                    9914 SCARLET OAK DRIVE
                                     DOUGLASVILLE. GA 30135


an answer to the complaint which is herewith served upon you, within 30 days after service of this
summons upon you, exclusive of the day of service, if you fail to do so, judgment by default will be
taken against you for relief demanded in the complaint.


This January 31. 2018.




                                                      Tammy M. Howard
                                                      Clerk of Superior Court
           Case 1:18-cv-03461-MLB Document 5-1 Filed 08/03/18 Page 11 of 57



GREG L. ALMOND, JOCELYN ALMOND,                         CIVIL ACTION.: 18-CV-00150                       y
                                                                                     —•4        £3
Plaintiff,                                                                           E     yi   CO

                                                                                                ~n
vs.                                                                                             m
                                                                                                      ar?*w*
                                                                                                      wyj-awn

                                                                                                ro
THE BANK OF NEW YORK MELLON, AS                                                                 ro


TRUSTEE,
                                                                                      SpS
                                                                                      i&s 3
                                                                                       b*8       a:
Defendant
                                                                                                 o
                                                                                       *




                       SUPPLEMENTAL BRIEF IN SUPPORT OF COMPLAINT




           Greg and Jocelyn Almond file this Brief in Support of Complaint filed on January 31st,

2018 and show the Court as follows:


                                       STATEMENT OF FACTS

                                                   1.

           Exhibit "A" - On 8/31/2016 JP Morgan Chase filed a Motion for relief in The U.S.
Northern District Bankruptcy Court claiming 35 payments had been missed, beginning from
October 2013. It was accompanied by the Affidavit of Amanda Schleich.

           *The Defendants Motion for Relief argued payments were due beginning October 2013.



 PAYMENTS:

Mortgage payments are not made in perpetuity. They have a beginning and an end. The
Plaintiffs in this Case began making payments in March of 1995 and completed payments by
February 2010.

      1)   Exhibits "B & C" ~ The Security Deed and Balloon Note show the Term for Repayment
           of the Principal Amount ($69,300.00) plus Interest was 15 YEARS. Beginning March
           199-5 Ending February of 2010.


      2)   Exhibits ",E through L" - Monthly Statements show reductions in the Principal Amount
           owed after Payments were made.     (*Arrows point to Statement Date & Amount owed)



                  a)   07/24/2000 - $68,307.64 (Exhibit "E")
                  b)   09/28/2001 - $67,442.25 (Exhibit "F")
                  c)   12/15/2005 - $66,019.01 (Exhibit "G")
                  d)   12/15/2006 -$65,182.83 (Exhibit "H")
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                  e)   1 1/16/2007 - $63,785.35 (Exhibit "I")
                  f)   1 1/13/2008 - $62,808.25 (Exhibit "J")
                  g)   06/05/2009 - $62,508.51 (Exhibit "K") (*At this point the Principal Amount
                       & Interest had been paid in Full.)
                  h)   1 1/30/2010 - $62,386.33 (Exhibit "L") (*This Amount went into Bankruptcy)


   3) Exhibit "D" - The Truth in Lending Disclosure Statement shows the Total amount of the
        Principal plus Interest to be repaid within the 15 Year period was $145.611.99.


   4) Exhibit "D" - The Total Amount of Balloon Payment was $62.738.34 (now $62.386.331.


   5)   Exhibit "D" - The Total Amount of Principal, Interest & Balloon was $212.176.49.


   6) Debtors have, to date, paid a total of approximately $198.000. of the $212, 176.49. To be
        repaid.


                                                     2.
BANKRUPTCY:
   1) The Amount submitted to the Bankruptcy Court by Debtor was $62.386.33. That Amount
        was reduced by the Bankruptcy Court to $53.823.54 to be repaid.


   2)   Exhibits "M & N" - Trustee's Final Report & National Data Center printout.
        As of December 8, 2016, the date the Motion for Relief was Granted, the Debtors had
        paid a Total of $47,445.43. towards repayment of the $53.823.54.


   3)   Defendants as of this date have shown absolutely no proof of the payments they claimed
        in their Motion for Relief.


   4) Exhibit "O" - The Defendants in this Case cite the Chapter 13 Plan of the Debtor,

specifically Page 4 - Section B, as verification of payments owed.


   The line that states "Debtor will make all post-petition mortgage payments directly to each

Mortgage creditor as those payments ordinarily come due."


   The Defendants argument relies heavily on this Line.


   a)   See Exhibit "K" - As of 06/05/2009, the Principal Amount ($69,300.00) was paid in full.

   b) See Exhibit "L" - The Balloon Amount ($62,386.33) went into Bankruptcy.

   c)   See Exhibits "M & N" - Payments were made directly from the Office of Mary Ida

        Townson, Trustee for the U.S. Northern District Bankruptcy Court to JP Morgan Chase.
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     5)   The Defendants argue payments were due, yet have not produced any explanations of:


a)   Time periods for which they claim payments were due (Months & Years)

b)    Amounts due for that time period.

c)   Total dollar amounts claimed for that time period.

As of the date of this Filing. The Defendants have produced none of this Information.




     6)   See Exhibit "A" (attachment to Motion for Relief) - Additionally, they continue to

          present to the Court, as evidence of payments due, the Affidavit of Amanda Schleich.

          They have presented no further information on this person for the purpose of verification;

                 a)   Vice President of What Department?
                 b)   Contact Information
                 c)   Contact Information to Human Resources for Verification of Employment

                 d)   Also, the Attachments to the Affidavit are Unreadable.


          It should be Noted by this Court that the Defendants have changed the appearance of the

Affidavit as it was filed in the U.S. Bankruptcy Court.


                                                            3.


          Exhibit "P" - Consent Order


          Bank Examiners for The OFFICE OF THE COMPTROLLER OF CURRENCY conducted an

examination of the foreclosure processes of J.P. Morgan Chase in 2011.


          A Consent Cease and Desist Order was issued on April 13, 2011 in Case # AA-EC-1 1-15.


           In Article I, the Comptrollers Findings, are the practices J.P. Morgan Chase was found to

have engaged in.


                a)    (Page 2)   Article I (2) (a) - filed or caused to be filed in state and federal courts

                      affidavits .... making various assertions, such as ownership of the mortgage note and

                      mortgage, the amount of principal and interest due .... in which the affiant represented
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                   that the assertions in the affidavit were made based on personal knowledge. . . .,when,

                   in many cases, they were not based on such personal knowledge


       In Article IV, Compliance Program, J.P Morgan Chase was Ordered to submit a plan to

       address these issues.


              b)   See also - (Page 7)   Article IV (1) (b)(f)(g)(h) - Compliance Program




                                             ARGUMENT


          There are 2 elements of the argument by JP Morgan Chase & it's Successors. They


are (1) the Sworn statement of Amanda Schleich, someone whose qualifications and knowledge


of the Bankruptcy cannot be verified because the Attorneys have provided absolutely no contact


information or any other form of verification, and (2) The Debtors Chapter 13 Plan, specifically


Section B and the line that states "Debtor will make all post-petition mortgage payments directly


to each Mortgage creditor as those payments ordinarily come due.", for which they have


provided no evidence of any payments due.



        As stated in the Answer filed in the Douglas County Magistrate Court, this is a Mortgage


Scam. The same Practices used in the Bankruptcy Court, Foreclosure and subsequent


Dispossessory are the same as those that caused the OFFICE OF THE COMPTROLLER OF


CURRENCY to issue a Consent Cease and Desist Order on April 13, 201 1 in Case # AA-EC-1 1-


15.



      As a result of that Action, J.P. Morgan Chase had to pay out approximately


$753,000,000.00 in Compensation to Homeowners they had wrongfully foreclosed on.


      The Defendants in this Complaint are relying on a lack of scrutiny of the facts by the


Courts. The Defendants ask the Court to give it more scrutiny.
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                                              CITATIONS

O.C.G.A. § 16-9-60 "Foreclosure fraud"


(a) "foreclosure fraud" shall include any of the following: knowingly or willfully representing that

moneys provided to or on behalf of a debtor, as defined in Code Section 44-14-162.1 in

connection with property used as a dwelling place by said debtor, are a loan if in fact they are

used to purchase said property or such debtor's interest therein;


(b) Any person who by foreclosure fraud purchases or attempts residential property means of

such fraudulent scheme shall be guilty of ...




Submitted this       day of February, 2018.




                                                              Greg L. Almond, Pro Se




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Douglasville, Georgia 30135
(678) 982-8265
greglalmond @ hotmail.com
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                                                                                                       O/ZiC*
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                                      Document      Page 3 of 32



                           IN THE UNITED STATES BANKRUPTCY COUR
                                                                T
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

 IN RE:
                                                         CASE NO. 13-68985-mgd

 GREGORY LAMAR ALMOND,
                                                         CHAPTER: 13

                Debtor.                                  JUDGE: MARY GRACE DIEHL

 THE BANK OF NEW YORK MELLON, FKA
                                                         CONTESTED MATTER
 THE BANK OF NEW YORK, AS
 SUCCESSOR TRUSTEE TO JP MORGAN
 CHASE BANK, N.A. AS TRUSTEE, FKA
 BANK ONE, NATIONAL ASSOCIATION,
 AS TRUSTEE FOR BEAR STEARNS ASSET
 BACKED SECURITIES TRUST 2002-2,
 ASSET BACKED CERTIFICATES, SERIES
 2002-2,               ,


                Movant,
 v.



GREGORY LAMAR ALMOND, Debtor
JOCELYN ALMOND, Co-Debtor
MARY IDA TOWNSON, Trustee
                                  i


               Respondents).



                   MOTION FOR RELIEF FROM THE AUTO
                                                   MATIC STAY
                            AND THE CO-DEBTOR STAY

        COMES NOW Movant named above and sbows
                                               this Court the following:

       1.      This Motion is made pursuant to Section 362(d
                                                             ) of the Bankruptcy Code for relief

from the automatic stay and pursuant to Section
                                                1301(c) of the Bankruptcy Code for relief from

the co-debtor stay, for all purposes allowed
                                             by law and the contract between the parties
                                                                                         ,

including, but not limited to, the right to foreclose
                                                      on certain real property by a private power of

sale contained in a certain Deed to Secure Debt.


       2.      Movant is the holder or the servicer of a loan
                                                              secured by certain real property in




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  which the Debtor has an interest. Said real
                                              property is security for a Promissory Note
                                                                                         , and is
  commonly known as 9914 Scarlet Oak Drive
                                           , Douglasville, GA 30135.                -
            3.    There has been a default in mortgage paym
                                                            ents which have come due since this

  case was filed. As of July 29, 2016, thirty
                                              five (35) post petition payments have been
                                                                                         missed
  Additionally, this loan has matured unde
                                          r the terms of the loan documents and
                                                                                the confirmed
 Plan does not provide for the total debt

        4.        The unpaid principal balance is $62,3
                                                        86.33,; and interest is due thereon in

 accordance with the Promissory Note.       .

        5.       Because of the default and clear inab
                                                      ility to make all required payments, Mova
                                                                                               nt

 is not adequately protected. Movant's intere
                                             st would also he irreparably harmed by
                                                                                    the
 continuation of the co-debtor stay.


       6.        Movant requests that in the event the Motio
                                                             n is granted, the Trustee be ordered to

 cease funding any balance of Movant's
                                       claim and that Fed. R. Bank. P. 3002.1
                                                                              be held not to
 apply to Movant, its successors and/or
                                        assigns, as Movant's claim would not be
                                                                                provided for in
the Plan pursuant to Section 1322(b)(5)
                                        of the Code.

       7.        Movant requests that the provisions of Fed.
                                                             R. Bankr. P 4001(a)(3) be waived.

       8.        JPMorgan Chase Bank, N.A., services
                                                     the loan on the property referenced in this

Motion fox Relief. In the event the autom
                                          atic stay in this case is lifted/set aside,
                                                                                      this case
dismisses, and/or the debtor obtains a disch
                                             arge and a foreclosure action is commence
                                                                                       d on the
mortgaged property, the foreclosure will
                                         be conducted in the name of The Bank
                                                                              of New Ybrk
Mellon, FKA The Bank of New York
                                , as successor Trustee to IP Morgan
                                                                    Chase Bank, N.A. as

Trustee, FKA Bank One, National
                                Association, as Trustee for Bear Stear
                                                                       ns Asset Backed

Securities Trust 2002-2, Asset Backed
                                      Certificates, Series 2002-2. Said entity
                                                                               , directly or
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through an agent, has possession of the promissory
                                                   note. The promissory note is either rrM*

payable to said entity or has been duly endorsed.

        WHEREFORE, Movant prays for an Order lifting
                                                     the automatic stay and co-debtor stay,

authorizing it to proceed with the exercise of its private
                                                           power of sale and to foreclosure under its

Loan Documents and appropriate state statutes. Movan
                                                     t also prays that Fed. R. Bankr. P. 3002.1

be held not applicable in accordance with the reques
                                                    t hereinbefore, that Fed. R. Bankr. P.

4001(a)(3) be waived. Movant also prays that the Chapte
                                                        r 13 Trustee make no further payments

on account of Movant's secured claim, that Movant
                                                  be permitted to contact the Debtor or

Debtor's Counsel, as appropriate, through its agents,
                                                      servicers and representatives for the

purpose of engaging in discussions and consideration
                                                     for possible loss mitigation options, and for

such other and further relief as is just and equitable.



                                                          /si Brian K. Jordan
                                                          Brian K. Jordan, Bar No.: 113008
                                                          Attorney for Movant
                                                          Aldridge Pite, LLP
                                                          Fifteen Piedmont Center
                                                          3575 Piedmont Road, N.E., Suite 500
                                                          Atlanta, GA 30305
                                                          Phone: (404) 994-7400        .
                                                          Fax: (888) 873-6147
                                                          Email: bjordan@aldridgepite.com
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                                                                  IN THE UNITED STATES BANKRUPTCY COURT
                                                                       NORTHERN DISTRICT OF ORORGIA
                                                                                ATLANTA DIVISION


                                  IN RE:                                                           CASE NO. 13-68985-mgd

                                  GREGORY LAMAR ALMOND,                                           CHAPTER: 13

                                                        Debtor.                                   JUDGE; MARY GRACE DIEHL



                                                             SUPPLEMENTAL DECLARATION IN SUPPORT OF
                                                             MOTION FOR RELIEF FROM AUTOMATIC STAY
JI


                                             L     / fA(l{\{lt\                 . declare under penally of perjury as follows:
                                              1.        This supplemental declaration is provided in support of the Motion for Relief


                                 from Stay (the "Motion'1) Hied contemporaneously herewith.

                                             2.         I   am a/an     Vice President 0p jpMorgan      Chase    Bank, National Association


                                 ("Chase") and am authorized to sign this supplemental declaration on. behalf of Chase
                                                                                                                       as

                                 servicing agent for The Bank of New York Mellon, FKA The Bank of New York, as successor

                                 Trustee to .IP Morgan Chase Bank. N.A. as Trustee., FKA Bank One, National Association,
                                                                                                                         as

                                 Trustee for Bear Stearns Asset Backed Securities Trust 2002-2, Asset Backed Certificates, Scries

                                 2002-2. In this position, I have access to the business records of Chase, and my responsibiliti
                                                                                                                                es

                                 include ascertaining and verifying amounts due and payable as to delinquent bankruptcy


                                 accounts.



                                             3.        The facts stated in this declaration are based upon information that I obtained by

                                 reviewing records maintained in the ordinary course of Chase's business, as part of regularly


                                 conducted business activity, by or from information transmitted by pcrson(s) with knowledge
                                                                                                                             of

                                 the events described therein, at or near the time of the event described,




                                 Case No.: l^-CitDSS-mgd
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                Case 1:18-cv-03461-MLB Document 5-1 Filed 08/03/18 Page 20 of 57

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                                                                                                                          is




                        4.     Greg Almond and Jocclvn Almond ("^Borrowers") executed a note dated
                                                                                                   February

              8, 1495 in favor of Sunshine Mortgage Corporation, in the original principal
                                                                                           sum of $69,300.00

             (the ""Note").


                        5.     The Note is secured by a deed to secure debt encumbering certain real
                                                                                                     property

             commonly known as 9914 Scarlet Oak Drive, Dougiasville, OA 30135.

                        6.     The Movant's agent lias possession of the original promissory note, and
                                                                                                       the note

             is endorsed in blank.


                        7.     As of July 29. 2016. the Borrowers failed to make one or more post-peti
                                                                                                      tion

             payments with respect to this loan.


                       8.     The unpaid principal balance of this loan as of July 29, 2016 is S62.3S6.
                                                                                                        33.

                       9.     The following chart sets forth those post-petition payments
                                                                                          that the Borrowers

             failed to make with respect to this loan as of July 29, 201 6;


              Number    j From             To             Principal            Escrow (if    Monthly        Total
              of Missed |                                 and Interest         applicable)   Payment        Amounts
              Payments \
                                                                                             Amount

                   4          9/13/2013    12/13/2013           $834.85           $233,69 j $1,068.54        $4,274.16
                  12          1/13/2014    12/13/201.4          $834.85           $244.52 | SI ,079.37      $12,952.44
                  12          1/13/2015    12/13/2015           $834.85           $244.46    $ 1 ,079.3 1   $ 1 2,95 1.72
                   7          1/13/2016    7/13/2016            $834.85           $297.54 j $1,132.39        $7,926.73
I             Less post-petition partial payments (suspense balance):
                                                                                                             $(259.20)



                                                                                                 Total:     $37,845.85



            In addition, monthly payment obligations will continue to accrue
                                                                             under the terms of the note.




            C;oe No.: l?-68%'5-ingd
    C 0,   -gk j A - ifj.k Cj % f - mjj d


                       %'V                                            V.v. .        ',V?.
                                                                                                                 j »'» r:'*w-   Vt t l.y< • :•
               Case 1:18-cv-03461-MLB Document 5-1 Filed 08/03/18 Page 21 of 57

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                       10.     As of July 29, 2016. ihe Lota! post-petition aneaiage/deiinquency needed to cure

             the post-petition default is S37.845.S5, consisting of (i) the foregoing total of missed
                                                                                                      posti-

             petition payments in the amount of S37, 845. 85, plus (ii) the following post-petition fees:


                                        Description                                                   Amount
               N/A
                                                                                                                              SO .00

                      11.      Attached hereto as Exhibit A is a postpetition payment history.

                      1 hereby declare under penalty of perjury under the laws of the United States of
                                                                                                       America

             that the foregoing is true and correct. Executed this ^S^day of                                 c?Qj(j.

                                                                   Name:                           SJlle ich
                                                                   Title:
                                                                             Vice President         JFMoty?.n Chaso Bank, N.A.,
                                                                                           &/Z\$/lLp




           CiJ'icISo.; 13-6fi98a-inad   '

    C&Se # 13- U>lsci&S~-n^clc!

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    Case 1:18-cv-03461-MLB Document 5-1 Filed 08/03/18 Page 22 of 57

Case 13-68985-mgd                               Doc 25                         Filed 08/31/16  Entered 08/31/16 18:45:25   Desc Main
                                                                              Document      Page 9 of 32




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   Case 1:18-cv-03461-MLB Document 5-1 Filed 08/03/18 Page 23 of 57

Case 13-68985-mgd          Doc 25             Filed 08/31/16                       Entered 08/31/16 18:45:25
                  '                          Document
                                                                                                                                             Desc Main
                                                                Page 10 of 32




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                                                                                                                                    EXHIBIT A
      Case 1:18-cv-03461-MLB Document 5-1 Filed 08/03/18 Page 24 of 57

Case 13-68985-mgd           Doc 25   Filed 08/31/16   Entered 08/31/16 18:45:25   Desc Main
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                      Case 1:18-cv-03461-MLB Document 5-1 Filed 08/03/18 Page 25 of 57
{              REturn to:
               Ward & Teasley, P. C.
               5775-D Peachtree Dunwoody Rd.,                   Ste   175
               Atlanta, GA   30342
               S-02-53

                                                 [Space Above This Line For Recording Datal




                                               DEED TO SECURE DEBT


                     THIS DEED TO SECURE DEBT ("Security Instrument")
                                                                      is given on                   February 8
           199 5     . The grantor is Greg Almond and Jocelyn Almond
                                                                                                           .
           ("Borrower"). This Security Instrument is given to
                    Sunshine Mortgage Corporation
                                                                                              , grantee, which is organized and
           existing under the laws of      State of Georgia                       0 and whose address is
                    P 0 Box 9274, Marietta, GA              30065
           ("Lender"). Borrower owes Lender the principal sum
                                                              of **Sixty Nine Thousand Three
              Hundred and No/100                                     ******** ***** *********

           (U.S. $                                                                                                 Dollars
                       69.300.00                             ). This debt is evidenced by Borrower's note dated the
                                                                                                                     same
           date as this Security Instrument ("Note"), which provide
                                                                    s for monthly payments with the full debt, if not paid
           earlier, due and payable on     February 13. 2010                       This Security Instrument secures to
           Lender: (a) the repayment of the debt evidenced by the Note,
                                                                          with interest at the rate set forth in the Note,
           and all renewals, extensions and modifications of the Note;
                                                                       (b) the payment of all other sums, with interest,
           advanced under paragraph 6 to protect the security of
    r-     Borrower's covenants and agreements under this Security
                                                                  this Security Instrument; and (c) the performance of
                                                                       Instrument and the Note. For these purposes
           Borrower does hereby grant and convey to Lender and
                                                                  Lender's successors and assigns, with power of sale,
           the following described property located in        Douglas
                                                                                                 County, Georgia       :



                             <3      If this box is checked see Schedule A annexed hereto and made
                                                                                                   a part hereof.


          which has the address of       9914 Scarlet Oak Drive                                    Douglasvilie
                                                     (Street)
                        30135                                                                                (City)
          Georgia                            ("Property Address"):
                            (Zip Code)



                   TO H^VE AND TO HOLD this property unto Lender's
                                                                               successors and assigns, forever, together
          with all the improvements now or hereafter erected on the
                                                                       property, and all easements, appurtenances, and
          fixtures now or hereafter a part of the property. All replacem
                                                                         ents and additions shall also be covered by this
          Security Instrument. All of the foregoing is referred to in
                                                                       this Security Instrument as the "Property."

                   BORROWER COVENANTS that Borrower is lawfully
                                                                          seised of the estate hereby conveyed and has
          the right to grant and convey the Property and that the
                                                                  Property is unencumbered, except for encumbrances               •' ' ' •
          of record. Borrower warrants and will defend generally
                                                                 the title to the Property against all claims and
          demands subject to any encumbrances of record.
    «S.




/                   Borrower and Lender covenant and agree as follows:

                 1.       Payment of Principal, Interest and Other Charge
                                                                               s.  Subject to paragraph 10 below,
          Borrower shall promptly pay when due the principal of                                                                        l
                                                                and interest on the debt evidenced by the Note and
          any late charges, collection costs and expenses and dishonored
                                                                         check charges as provided in the Note.                     V   \




                  2.     Application of Payments. Unless applicable law provide                                                        t?
                                                                                s otherwise, Lender will apply each
          of Borrower's payments under the Note first to accrued                                                                       >
                                                                 and unpaid interest under the Note to the date of
          payment and the remainder, if any, to the unpaid principa
                                                                         l balance under the Note. Any late charges,
          collection costs and expenses, dishonored check charges and                                                                  ;*
                                                                          payments made by Lender to enforce the Note
          and/or to protect Lender's interests under this Security Instrum
                                                                           ent will be assessed separately.
                              Case 1:18-cv-03461-MLB Document 5-1 Filed 08/03/18 Page 26 of 57


                                                                 BALLOON NOTE

                                                                                                                                GEORGIA

          THE FINAL PAYMENT UNDER THIS
                                            NOTE IS SUBSTANTIALLY GREATER
          PAYMENTS. YOU MUST REPAY THE                                       THAN THE PREVIOUS
                                         ENTIRE UNPAID PRINCIPAL BALANCE
          INTEREST THEN DUE. THE LENDER                                  OF THE LOAN AND UNPAID
                                          IS UNDER NO OBLIGATION TO REFI
          TIME, YOU WILL, THEREFORE, BE                                 NANCE THE LOAN AT THAT
                                        REQUIRED TO MAKE PAYMENT OUT
                                                                       OF OTHER ASSETS THAT YOU
          MAY      OWN, OR YOU WILL HAVE TO FIND A LEND
                                                        ER, WHIC
                                                             H MAY BE THE LENDER YOU HAVE THIS
          LOAN WITH, WILLING TO LEND YOU
                                         THE MONEY. IF YOU REFINANCE THIS
          MAY HAVE TO PAY SOME OR ALL OF                                  LOAN AT MATURITY, YOU
                                         THE CLOSING COSTS NORMALLY ASSO
          EVEN IF YOU OBTAIN REFINANCING FRO                              CIAT ED WITH A NEW LOAN
                                             M THE SAME LENDER.



          US $     69, 300 . 00
                                                                                                  February 8.     1995
                                                                                                                 Date

                                  9914 Scarlet Oak Drive ,          Douqla^ville,      GA         30135
                                                                  (Property Address)



       1.        BORROWER'S PROMISE TO PAY
                 In return for a loan that I have received, I promi
                                                                    se to pay U.S. $   69,300.00
    -—galled "principal"), plus interest, to                                                                                (this amount is
                                             the order of the Lender.      The Lender is      Sunshine Mortgage Corporation
(                                                             . I understand that the Lender may transfer
       who takes this Note by transfer and who is                                                         this Note. The Lender or anyone
                                                  entitled to receive payments under this Note
                                                                                               is called the "Note Holder."
       2.    INTEREST
             Interest will be charged on the unpaid principal
                                                              until the full amount of principal has been paid.
       a yearly rate of 14.250                                                                                  I will pay interest at
                                        %. Interest will be charged until the princi
                                                                                    pal has been paid in full.

                 The interest rate required by this Section 2 is
                                                                 the rate I will pay both before and after any
      6(B) of this Note.                                                                                       default described in Section


      3.         PAYMENTS
           I will pay principal and interest by making payme
                                                             nts every month. Each of my monthly payments,
      payment, will be in the amount of U.S. $ 834.                                                        except for the final
                                                            85                            nSSU-                   scheduled payments of
      principal and interest are made on their due dates,
                                                          the final payment will be U.S/$ 62738.34
                I will make my monthly payments on the       13th      day of each month begin
                                                                                             ning on March 13
      19 95 . I will make these payments every month
                                                            until     February 13. 2010
     which date I will pay all of the remaining princi                                                                              on
                                                       pal, accrued interest and any other charges, descri
     under this Note. Unless applicable law provid                                                         bed  below , that I may owe -
                                                    es otherwise, all payments will be applied first
     to the date of payment and the remainder, if                                                      to accrued and unpaid interest -
                                                    any, to the unpaid principal balance. Any late
     expenses, dishonored check charges and paym                                                        charges, collection costs and
                                                    ents made by the Note Holder to enforce this
     Holder's interests under the Security Instrument                                                Note   and/or to protect the Note s.
                                                        (as defined in section 9) will be assessed separ
                                                                                                         ately.
               I will make my monthly payments at        P. o.    Box 9274, Marietta,         GA         30065
                                                                                or at a different place if required by the Note               t
                                                                                                                                Holder.       ^
     4.    BORROWER'S RIGHT TO PREPAY
           I have the right to make payments of princi
                                                       pal at any time before they are due. A paym
                                                                                                   ent of principal only is known
                                                                                                                                              *
     as a "prepayment."


                I may make a full prepayment or partial prepa
     use     all of my prepayments to reduce the amount of
                                                              yments without paying any prepayment penalty.
                                                                                                                 The Note Holder will         \4)
     ...Ml    U- _ - _1
                                                            principal that I owe under this Note. If I make a partia
                                        i .           ' • "            • •
                                                                                                                     l prepayment, there
                                                                                        •     -    - -
                                                     TRUTH-IN-LENDING DISCLOSURE S I A I hMfcN J
                                    Case 1:18-cv-03461-MLB Document 5-1 Filed 08/03/18 Page 27 of 57
                                                 OF LOAN SECURED BY REAL PROPERTY


    ^LENDER (called " you"):                                                                      BpRROWER(S) (called "l,""nne" or "my"):

(         -       Sunshine Mortgage Corporation                                                           Greg      Almond
                  P O Box 9274                                                                             Jocelyn Almond
                  Marietta, GA  30065        "


                                                                             A
                                                                            Amount Financed .         Total of Payments
               ANNUAL                                FINANCE         .
                                                                            The amount of             Theamount I will have paid after I
                PERCENTAGE RATE                      CHARGE
                                                                             credit provided to       have made all payments as
               The cost of my                        The dollar amount
                                                                             me or on my               scheduled.
                credit as a yearly                   the credit wiil cost
                                                                             behalf.
                rate.                                me.



                                                     $ 145611.99             $ 66564.50                $212176.49
                         14.874             %                                                                                                          !



               My payment schedula will be:

               Number of Payments                Amount of Payments               When Payments Are Due

                                                 $    834.85                      Monthly beginning         March     13.1995
                    179

>                       1                        $    62738.34                    Month Ending          February       13,    2010


              Insurance: I may obtain required property insurance from anyone I want that is acceptable to you
              Security: I am giving a security interest in my real property located at:
                                                                 .   Doualasville,     GA      30135

              Filing Fees:     $      50.00
                               $        6 • 00        e (For releasing security interest)
              Prepayment:          If I pay off early, I
                                     may               B will not have to pay a penalty.
              Late Charge: If a payment               is late more than _Jj> calendar days, I will pay a late charge of              5 • Qfyo of my
              scheduled payment.
              Assumption: Someone buying my home cannot, except as federal law otherwise provides, assume the remainder
              of this loan on the original terms.
              See the contract documents for any additional information about nonpayment, default, any required repayment
              in full before the scheduled date and prepayment refunds and penalties and security interest.

              e means estimate

      Itemization of Amount Financed of $ 66564. 50
                 ( 858 .76)            Amount given to me directly.
      $                                Amount paid on my account.
      Amounts paid to others on my behalf:
      $     50 . 00      to public officials for filing fees.
      $    338.60        to insurance company for title insurance and/or title sf arch.
      $    400.00        to     Ward S Teasley, P.C.                                                                         closing attorney/agent.

      $                _ to credit bureau for credit reporting fees.
      $                _ to insurance company for credit life insurance.
      $                              _ to appraiser for appraisal fees.
                                                           (Specify name of payee and purpose)
      $           208.50               to        Tax Commissioner                                                                                          Q\
      $                 6.50           to        Ga Res Mtg Ln Fee
      $             75.00              to        Appraisal Review
                                                                                                                                                           )
                31774.79               to        GMAC Mortgage Corp
      j         26580.87               to
                                                 Douglas       County Bank                                                                                 W
                   710.00              to
                                                 NATCO
      $
      $          6388.00               to
                                                 GMAC                                                                                                       \

                   391 .00                       Macys
      $                                to
      $            500.00              to        Personal      Finance                                                                                     X
      $                                to
      $          2735.50               Prepaid finance charge including:
                                       A 2425.50                for loan origination fee to vou. $1039.-50 Orig, $1 386 . 00 Ln Disc
                  w         rs
                                 Case 1:18-cv-03461-MLB Document 5-1 Filed 08/03/18 Page 28 of 57
                                                                          MORTGAGE STATEMENT                               ^P^^OUNT NUMBER:
        Superior"                                                     STATEMENT DATE: 07/24/00
                                                                            Any activity after this date will
                                                                                                                               '    PROPERTY ADDRESS:


        Bank fsb                                                          appear on the next billing statement.

                                                                                                               ACCOUNT             INFORMATION
        Servicing Division

                                                                                                               Balances
                                                                                                                Principal Balance
                                                                                                                                                                          $68,307.64
                                                                                                                Escrow Balance
                                                                                                                                                                                 $0.00
                                                                                                                Unpaid Late Charges •              -                        $125.22
                                                                                                                Unpaid NSF Charges
                                                        002926                                                                                                                $0.00
                GREG    ALMOND                                                                                  Negative Amortization Balance
                                                                                                                                                                              $0.00
                J0CELYN                                                                                         Deferred* Amounts
                           ALMOND                                                                                                                                                $0.00
                                                                                                               Payment Factors
                                                                                                                Principal & Interest Payment
                                                                                                                                                                            $334.85
                                                                                                                Escrow Payment
                                                                                                                                                                              $0.00
                                                                                                                Optional Products                                             $0.00
                30135163914                                                                                     Other
                                                                                                                                                                              $0.00
                                                                                                                Total Payment
                                                                                                                                                                            $834.85
                                                                                                               Year— To— Date
                                                                                                                interest Paid                                             $5,935.35
                                                                                                                Taxes Paid
                                                                                                                                                                                 $0.00


                  J,oan closed before April $0, J397, f£e amount Of late charges             .
    •               ttufr be different
                                    than tttfs aihocnt.    If yoti Wish ta obtain :                                                                                               sine
                                                                                       »    -
        '                    °f iSA ch8ffle8»0WM'                   our                                       please cail our       cusISS^|l^|^
        Impo                                              Toll Free                                       1 -888-323-61 1 1                                                                       V

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                 Need an Auto Loan, or want to lower ^iir existing car papaeiit? Let
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                                                                                     dig h£iri ydn!
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    Transaction Summary                                                                                               .   ».
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                                               Ajwtmf               Interest                 Prtntlpal                Eserw/Iopemtd               Optic-nat Products MiaceUanecus                     j
        06/?4     Begin Date                              50,. GO               SO.QO                         so.po                       $0.00            .       $0.00                     »u.00




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I
                                                                     MORTGAGE STATEMENT
                          Case 1:18-cv-03461-MLB Document 5-1 Filed 08/03/18 Page 29 of 57
      Supe,                                                                                                                  :ement Date 09/28/01                      4

i
      Bank fsb                                                                                                              ' Loan Summary

      Servicing Division                                                                             ACCOUNT NUMBER:
      One Ramland Road, Orangeburg, NY 10962                                                         PROPERTY ADDRESS:

                                                                                                     Balances
    Toll Free Customer Service
                                                                                                           Principal Balance:

                                                                                                                                                                                          *
     1-688-323-6111                                                                                                                                                67442.25
                                                                                                           Escrow Balance:
                                                                                                                                                                             .00
                                                                                                           Unpaid Late Charges:
                                                                                                                                                                           41.74
                                                                                                           Unpaid NSF Charges:  <                                          15.00
                               HttMjOl SUPMT501 SUP-MORT t
                                                                 0416200126'                               Funds Advanced By Superior Bank:
                                                                                                                                                                               .00
                                                                                                           Payment Breakdown
    30135163914
                                                                                                           Principal's Interest Payment
                                                                                                                                                                        834.85
    GREG   ALMOND                                                                                          Escrow Payment:
                                                                                                                                                                           .00
    JOCELYN   ALMOND                                                                                       Optional Products:
                                                                                                                                                                           .00
                                                                                                           Qftien
                                                                                                                                                                           .00
                                                                                                           Total Payment:
                                                                                                                                                                        834.85
                                                                                                           Year-To-Date:
                                                                                                           Interest Paid:
                                                                                                                                                                       7513.80
                                                                                                           Taxes Paid:
                                                                                                                                                                               .00
     IMPORTANT NOTICE: This Loan Summary is being provide
                                                          d to you for informational purposes only. The principal
    traianue indicate      d above ismottiretoTaramtJtmt requiretrfo^ayTc^tra                                                                                                         '
                                                                              rTirrfuTr.                                                                                             -
                                                                         TRANSACTION-SUMMARY

                                                                                                                                S2B&   S3®
                                                                                                                                                 mm
    08/28/01    LAST STATEMENT                                  .00                     • 00i                .00
    09/28/01                                                                                                                     .00              .00                       .00
                INT PAYMENT                                     .15
    09/28/01    PAYMENT                                                                 •15 Kfc              .00                .00               .00                       .00
                                                             834.85                  B34.85                  .00
    09/18/01    PAYMENT                                                                                                         .00               .00
                                                             834.85                  634.85                                                                                 .00
    08/30/01                                                                                                 .00"               .00               .00
                EZ PAY FEE                                    •4.95                                                                                                         .00
    08/30/01    PAYMENT                                                                                                         .00               .00                      4.95
                                                         834.65
    08/30/01    PAYMENT REVERSE                                                                                                 .00               .00
                                                         834.85                                                                                                             .00
    08/30/01    PAYMENT REVERSE                                                                                                 .00               .00                       .00
    08/30/01
                                                         834.85-         "%•% 834*85- IS                     .00                .00               .00
                EZ PAY FEE                                 4.95                                                                                                             .00
                                                                                                    17'                         .00               .00
    08/30/01    PAYMENT                                  834.85          iJciliil m.                      *3 Coo                .00               .00
                                                                                                                                                                           4.95
                                                                                                                                                                            .00

                                                                         Servicing Division


                                                                          IMPORTANT MESSAGES
                                                                                                                                                        eg



    WSSmmlm
                     1P775!
                              •"N:


                                                                                                                                                              02-1x09-3100(3/01)


                                                                                                                                       PA'         G&uma
     Supenor                                                                                      Add'rtional Principal:
                                                                                                  Additional Escrow:
     Bank fsb                                                                                     Other:
     Servicing Division                                                                           Total Amount Enclosed:.


    rn'mr                                                                                         *Ptease specify application of additional funds. Amounts
                                                                                                  specified as principal reduction may be applied to past due
                                                                                                                                                                                V.
                                                                                                                                                                                ^
                                                                                                  payments or advances made by Superior Bank on your                            Vi.
                                                                                                  behaif.
    Past Due Payments) Since 00/00/00:                                         .00
    Next Payment Due 10/13/01:                                         834.85
                                                                                                  Please make all checks payable to:
    Outstanding fees:    Late:                                                                                                                                                    \
                                                                         41.74
                               Check Return(NSF):                        15.00                                                                                                   X
                         Other Fees:                                       4.95                   llllllltlllllllulllllllllllltullltilltlllllllllltllllll
    Total Payments and Fees Due:                                                                                                                             in   ll
                                                                       896.54                     SUPERIOR BANK FSB
    Fuhd§ Advanced By Superior Bank:                                           .00                PO BOX 9597
    Total Ameuhf Due:    .                                             896.54                     UNIONDALE NY           11555-9597
    Afteri 0/23/01: Add Late Fee of                                      41.74


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                                                Case 1:18-cv-03461-MLB Document 5-1 Filed 08/03/18 Page 30 of 57
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       KMC V " P.O. Box 141358
      -i—                                 «      Irving, TK 75014-1358
                                                                                                                                                     Billing Statement
      Mortgage Corporation

                                                                                                                                     Statement Date
                                                                                                                                     Loan Number:

                                                                                                                                                                Automated information Line:
                                                                                                                                                                1-800-723-3004

                                           92382-003406-001
                                                                                                                                                        1       Visit our Web Site:
                        GREG            ALMOND
                        JOCELYN ALMOND
                                                                                                                                                        ^       www.emcmortgageservicing.com
                                                                                                                                                    Check here if your address or phone numbers have changed and complete
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                                                                                                                                     Borrower's Name:                   GREG ALMOND
                                                                                                                                                                        JOCELYN ALMOND
                                                                                                                                     PROPERTY ADDRESS:

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Mortgage Corporation
                                      P.O. Box 141358
                                      Irving, TX 75014-1358                                                     Billing Statement                                                                         &
                                                                                         Statement Date:                                                                                12/15/06
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                                                                                                                      Visit our Web Site:
                    GREG ALMOND                                                                                      www.emcmortgageservicing.com
                    JOCELYN ALMOND




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                                          Case 1:18-cv-03461-MLB Document 5-1 Filed 08/03/18 Page 32 of 57
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 EMC'l
  Mortgage Corporation
                                          P.O. Box 293150
                                          Lewisville, TX 75029-3150                                          Billing Statement                                                    &
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                                                                                                       A          1-800-723-3004
                                        45347-0001880-001
                                                                                                                 Visit our Web Site:
                           GREG ALMOND                                                                           www.emcmortgageservicing.com
                           JOCELYN ALMOND
                                                                                                                  Pay by Phone:
                                                                                               ""SMSB H           1-877-472-9362 or 1-866-472-9362
                                                                                                                 Pay by phone at no cost!
                                                                                                       Check hers If your address or phone numbers have changed and complete
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                                                                                             PROPERTY ADDRESS:



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                                                                                                       Payment Due Date
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                                                                                                                      PAGE 1 OF 1
                                        RETURN SERVICE ONLY

      EMC
      Mortgage Corporation
                                        Please do not send mall to this address
                                        PO Box 619063
                                        Dallas, TX 75261-9063
                                                                                                                      Billing & Speedpay Confirmation Statement
                                                                                                                                                                                                                 &
                                                                                                                      Statement Date:                                                  11/1 3/08
                                                                                                                      Loan Number: ~

                                                                                                                                              Automated Information Line:
                          m       6-675-35281-0004561-001-1-000-010-000-000                                                                    1-800-723-3004
                                                                                                                                              Visit our Web Site:
                      GREG ALMOND                                                                                                            www.emcmortgageservicing.com
                      JOCELYN ALMOND
                                                                                                                                              Pay by Phone:
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                                                                                   Page 34 of 57
                               RETURN SERVICE ONLY


      EMC
      Mortgage Corporation
                               Please do not send mail to this address
                               PO Box 61 9063
                               Dallas, TX 75261-9063
                                                                                                                         Billing Statement                                                   &
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               GREG ALMOND
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                                     RETURN SERVICE ONLY

       EMC
        Mortgage Corporation
                                     Please do not send mall to this address
                                     PO Box 619063
                                     Dallas, TX 75261-9063
                                                                                                             -    Information Statement
                                                                                                     Statement Date*. _                                            11/30/10
(                                                                                                    Loan Number:


                            3-675-49235-0004043-001-1-000-010-000-000
                                                                                                                                            Account

                  GREG ALMOND
                  JOCELYN ALMOND
                                                                                                                  1                         Inquiries
                                                                                                                                      1-866-325-4316


                                                                                                            Check here if your address or phone numbers have changed and complete
                                                                                                            the form on the reverse side.




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                                                                                                       Bankruptcy Chapter
      Interest Rate                                                                                                                                                                       13
                                                                         14.25000%
                                                                                                       Post-Petition Due Date
     Current Principal Balance*                                           62,386.33                                                                                                 11/13/10
     Current Escrow Balance                                                                            Post-Petition Payment Amount
                                                                         ($4,954.96)                                                                                            $1,186.70
     Year-to-Date: Principal Paid                                               0,00
     Year-to-Date: Interest Paid                                                0.00
     Year-to-Date: Taxes Paid                                               1,809.43                   For information purposes only:
     Year-to-Date: Hazard Insurance Paid                                       845.99                  Contractual Due Date                                                         11/13/09
     Late Charge Fee (per month)                                                41.74
    'This is your Principal Balance only, not the amount required to pay your
                                                                              logn In full.

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      Your statement may contain multiple charges for property inspections.
                                                                              Please n.ote that property inspections appear on your billing
      statement at the time they are assessed to your loan and not at the time they
                                                                                    were performed. Property inspections are performed in
      accordance with your Security Instrument,

      To the extent your original obligation was discharged, or is subject
                                                                              to an automatic stay of bankruptcy under Title 11 of the
      United States Code, this statement is for compliance and/or informational
                                                                                   purposes only and does not constitute an attempt to
      collect a debt or to impose personal liability for such obligation
                                                                         . If your Plan requires you to make post-petition mortgage
      payments directly to the Trustee, any such payments should be remitted
                                                                                 to the Trustee directly in accordance with the orders of
      the Bankruptcy Court.
                                                                                                                                    .
      If you do not wish to receive this monthly Information Statemen
                                                                          t in the future, or if you have any questions regarding this
      mortgage/deed of trust account, please call 1-866-325-4316.

      Please refer to the bankruptcy information included with this statement
                                                                              for additional information relating to your case.
      Your loan will reach its maturity on 02/10 and any remaining balances must be
                                                                                    paid in full.
                           35"

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    TRANSACTION                        DUE         TRAN          TOTAL
                                                                                                                                             OPTIONAL
    DESCRIPTION                        DATE        DATE         AMOUNT                 PRINCIPAL       INTEREST            ESCROW           PRODUCTS             OTHER        SUSPENSE
    Property Valuation                             10/12             0 . 00                   0.00          0.00                 0.00             0.00
     Inspection Fee                                                                                                                                                78.00               0.00
                                                   10/20                0.00                  0.00          0.00.                0.00             0.00
    Fcl Attorney Fee                                                                                                                                                 9.00              0.00
                                                   11/02                0.00                  0.00          0.00                 0.00             0.00           540.00
    Fcl Attorney       Cost                                                                                                                                                           0.00
                                                   11/02             0.00                     0.00          0.00                 0.00             0.00            11.42
    Fol Attorney Cost                              11/02                                                                                                                              0.00
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    Fcl    Attorney Cost         .                 11/02                                                                                                                              0.00
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- !,             Case 1:18-cv-03461-MLB Document 5-1 Filed 08/03/18 Page 36 of 57



                                  UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION

       In re:                                                      Case No. A13-68985-MGD
                GREGORY LAMAR ALMOND


                            Debtor(s)




                CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


               Mary Ida Townson, chapter 13 trustee, submits the following Final Report and Account
       of the administration of the estate pursuant to 1 1 U.S.C. § 1302(b)(1). The trustee declares
                                                                                                     as
       follows:


                1) The case was filed on 08/30/201 3

                2) The plan was confirmed on 01/10/2014.


                3) The plan was modified by order after confirmation pursuant to 1 1 U.S.C. § 1329 on
       NA.


              4) The trustee filed action to remedy default by the debtor in performance under the plan
       on 04/22/2016. 03/04/2017.


                5) The case was dismissed on 03/06/2017.


                6) Number of months from filing to last payment: 39.

                7) Number of months case was pending: 43 .


                8) Total value of assets abandoned by court order: NA .

                9) Total value of assets exempted: $27.981.00.


                10) Amount of unsecured claims discharged without payment: $0,00,

                1 1) All checks distributed by the trustee relating to this case have cleared the bank.




       UST Form 101-13-FR-S (9/1/2009)




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I               Case 1:18-cv-03461-MLB Document 5-1 Filed 08/03/18 Page 37 of 57



     Receipts;


                Total paid by or on behalf of the debtor             $57,453.00
                Less amount refunded to debtor                            $0.00

     NET RECEIPTS:
                                                                                                            $57,453.00



     Expenses of Administration;


                Attorney's Fees Paid Through the Plan                              $3,900.00
                Court Costs                                                            $0.00
                Trustee Expenses & Compensation                                    $2,863.88
                Other                                                                  $0.00
     TOTAL EXPENSES OF ADMINISTRATION
                                                                                                             $6,763.88

     Attorney fees paid and disclosed by debtor:                       $0.00



     Scheduled Creditors;

     Creditor                                        Claim          Claim              Claim       Principal       Int.
     Name                                 Class    Scheduled       Asserted           Allowed        Paid          Paid
     GEORGIA DEPT OF REVENUE          Unsecured            0,00        231.81             231.81            0.00          0.00
     INTERNAL REVENUE SERVICE         Unsecured            NA         1,483.73          1,483.73            0.00          0.00
     INTERNAL REVENUE SERVICE         Priority             0.00.      2,936.36          2,936.36      1,632.19            0.00
     JPMORGAN CHASE BANK, N.A.        Secured        53,823.54       53,638.71         53,638.71     47,445.43            0.00
     WELLS FARGO BANK, N.A.           Secured         4,269.00              0.00        1,485.82       1,485.82     125.68




    UST Form 101-13-FR-S (9/1/2009)
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     Summary of Disbursements to Creditors:
                                                                   Claim          Principal          Interest
                                                                Allowed                 Paid             Paid
     Secured Payments:
                Mortgage Ongoing                                  $0.00              $0.00              $0.00
                Mortgage Arrearage                           $53,638.71         $47,445 .43
            L                                                                                          $0.00
                Debt Secured by Vehicle                       $1,485.82          $1,485.82           $125.68
                All Other Secured                                  $0.00               $0.00            $0.00
     TOTAL SECURED                                           $55,124.53         $48,931.25           $125.68

     Priority Unsecured Payments:
                Domestic Support Arrearage                         $0.00             $0.00              $0.00
                Domestic Support Ongoing                           $0.00             $0.00              $0.00
                All Other Priority                             $2,936.36 '       $1,632.19              $0.00
     TOTAL PRIORITY:                                           $2,936.36         $1,632.19              $0.00

      GENERAL UNSECURED PAYMENTS                               $1,715.54               $0.00            $0.00



     Disbursements:


                Expenses of Administration                          $6.763.88
                Disbursements to Creditors                         $50.689.12

     TOTAL DISBURSEMENTS :                                                                     $57.453.00



             12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
     the estate has been fully administered, the foregoing summary is true and complete, and all
     administrative matters for which the trustee is responsible have been completed. The trustee
     requests a final decree be entered that discharges the trustee and grants such other relief as may
     be just and proper.


     Dated: 03/22/2017                            By:/s/ Mary Ida Townson
                                                                             Trustee


     STATEMENT This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
     exemption 5 C.F.R. § 1320.4(a)(2) applies.




     UST Form 101-13-FR-S (9/1/2009)
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Claim Detail                                           ^^NAnONALDATACEKIER
Case 1_368985_ Debtort GREGORY LAMAR ALMOND
                                                             Trustee TOWNSON, MARY [DA (ATLANTA, GA)
 CLAIM DETAIL
                                                                                     CLAIM AMOUNTS                                                   1

 Claim Number              1
                                                                                     Claim Amount             $53,638.71
 Claim Description         MORTGAGE
                           ARREARAGES                                                Scheduled                $53,823.54
                                                                                     Amount
 Claim Type Code           M
                                                                                     Monthly                  $1,517.00
                           SECURED                                                   Payment
            lion
                                                                                    Collateral Value          $0.00
Class Type Code                                                                     Amount
                           S                                                                                                  5*
Level                     42                                                        Principal Paid            $47,445.43
Comment                   12-8-16 order ceasing                                     Principal Owed            $0.00
                          funding
                                                                                    Principal Due             $0.00
Account Number            6120                                                      Amount
Reference Number          12000925                                                  Interest Rate %         0.0000
UCI                                                                                 Interest Paid           $0.00
Claim Filed Date                                                                    Interest Due            $0.00
                                                                                    Amount
                                                                                    Trustee Percent         0.0000
CREDITOR INFORMATION

Creditor Name          JPMORGAN CHASE BANK, N.A.                                     FLAGS
Mailing Address        3415 VISION DRIVE
                                                                                    No Check              O
                       ATTN: OH4-7142                                               Indicator
             '         COLUMBUS, OH 43219                                           Stop Disburse
                                                                                    Indicator
Contact Name
                                                                                    Continuing
Phone Number           (614) 422-5953                                               Indicator
Creditor Number        1 0327635                                                    Reserve
                                                                                    Indicator
PAYMENT
HISTORY




                      CHECK N
         DATE                      NAME OF PARTY                                                               PAYMENT
                                                                    DESCRIPTION
                      UMBER                                                                                                TOTAL
                                                                                                               AMOUNT

         12/01/2016                JPMORGAN CHASE BANK, N.A.        AMOUNT DISBURSED TO CRE
                                                                    DITOR                                      $1632.19    $47,445.43

         11/01/2016                JPMORGAN CHASE BANK, N.A.        AMOUNT DISBURSED TO CRE
                                                                    DITOR                                      $1632.19    $45,813.24

         10/03/2016                JPMORGAN CHASE BANK, N.A. d|toRNT DISBURSED T0 CRE
                                                                                                              $1 649.60    $44, 1 81 .05
         09/01/2016                JPMORGAN CHASE BANK, N.A. dijoRNT DISBURSED TO CRE
                                                                                                              $1649.60     $42,531.45
         08/01/2016                JPMORGAN CHASE BANK, N.A. AMOUNT DISBURSED TO CRE
                                                                                                              $1S49 60     $40,881.85
         07/01/2016            '   JPMORGAN CHASE BANK, N, A.       AMOUNT DISBURSED TO CRE
                                                                    DITOR                                     $1649.60     $39,232.25

         06/01/2016                JPMORGAN CHASE BANK, N.A. AMOUNT DISBURSED TO CRE
                                                                                                              $164960      $37,532.65



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                    CHECK N
                                                                                                      PAYMENT
       DATE                    NAME OF PARTY               .   DESCRIPTION
                    UMBER                                                                                           TOTAL
                                                                                                      AMOUNT


       03/01/2016             JPMORGAN CHASE BANK. NA dITOR^1 D,SBURsed 70                            $ , 64g 60    $35,933.05


       02/01/2016             JPMORGAN CHASE BANK, N-A.
                                                               d!torNT disbursed to ore               $1649.60      $34,283.45


       12/01/2015             JPMORGAN CHASE BANK, NA. AMOUNT DISBURSED TO CRE                        $1649.60     $32,633,85

       11/02/2015             JPMORGAN CHASE BANK, NA ™OUNT DISBURSED TO CRE                          $1649.60     $30,984.25


       10/01/2015             JPMORGAN' CHASE BANK, N.A.       AMOUNT DISBURSED TO CRE
                                                               DITOR                                  $1680.06     $29,334.65

       09/01/2015             JPMORGAN CHASE BANK, N.A. dITORNT DISBURSED T0 CRE                      $1662.66     $27,664.59


       08/03/2015             JPMORGAN CHASE BANK, N.A.                      DISBURSED T° CRE         $1662.66     $25,991.93

      07/01/2015              JPMORGAN CHASE BANK, N.A. |tqRNT DlSBURSED T0 CRE                       $1662.66     $24,329.27


      06/01/2015              JPMORGAN CHASE BANK, N.A. qitoRNT DISBURSED T0 CRE                      $1662.66     $22,666.61

      05/01/2015              JPMORGAN CHASE BANK, N.A.        AMOUNT DISBURSED TO CRE
                                                               DITOR '                                $1662.66     $21,003.95

      04/01/2015              JPMORGAN CHASE BANK, N.A. 0jtoRNT D,SBLJRSED T0 CRE                     $1662.65     $19,341 .29

      03/02/2015              JPMORGAN CHASE BANK, N.A. ditoRNT D,SBURSED T0 CRE                     $1662.67      $17,678.64

      01/02/2015              JPMORGAN CHASE BANK, N.A. ™ORNT DISBURSED TO CRE                       $1540.40      $16,015.97


      11/03/2014              JPMORGAN CHASE BANK, N.A. d{jqrNT DISBURSED 70 CRE                     $1 540.59     $14,475.57

      10/01/2014              JPMORGAN CHASE BANK, N.A. ™°URNT DISBURSED TO CRE                      $1540.66'     $12,934.98


      09/02/2014              JPMORGAN CHASE BANK, N.A.        AMOUNT DISBURSED TO CRE
                                                               DITOR                                 $1532.83      $11,394.32

      08/01/2014              JPMORGAN CHASE BANK, N.A. ™OUNT DISBURSED TO CRE                       $1533.42      $9,861.49

      07/01/2014              JPMORGAN CHASE BANK, N.A. d(TORNT D,SBURSED T0 CRE                     $1534.90      $8,328.07

      05/01/2014              JPMORGAN CHASE BANK, N.A. dHor^" DISBURSED T0 CRE                      $3077.12      $6,793.17

      04/01/2014              JPMORGAN CHASE BANK, N.A. d^oRNT D1SBURSED T0 CRE                      $1538,56      $3,716.05


      03/03/2014              JPMORGAN CHASE BANK, N.A.                      DISBURSED T0 CRE        $2177.49      $2,177,49




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                                                                                                                         A/1 ^TfAAIH
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                                                                            United States Bankruptcy Court
                                                                               Northern District of Georgia
              In re     Gregory Lamar Almond
                                                                                                                     Case No.    13-68985-MGD
                                                                                           Debtors)                  Chapter     13

                                                                            FIRST AMENDED CHAPTER 13 PLAN

             Extension 13                                                                               Composition Q

                      You should read this Plan carefully and discuss it with your attorney. Confirmation of this Plan
                                                                                                                       by the Bankruptcy
             Court may modify your rights by providing for payment of less than the full amount of your
                                                                                                          claim, by setting the value of the
             collateral securing your claim, and/or by setting the interest rate on your claim.


             Debtor or Debtors (hereinafter called "Debtor") proposes this Chapter 13 Plan:

             1. Submission of Income. Debtor submits to the supervision and control of the Chapter 13 Trustee
                                                                                                              ("Trustee") all or such portion of
             future earnings or other future income of Debtor as is necessary for the execution of this Plan.

          2. Plan Payments and Length of Plan. Debtor will pay the sum of $1,741.00                      Monthly to Trustee by        Payroll Deduction(s) or by
              Direct Payment(s) for the applicable commitment period of 60 months, unless all allowed claims
                                                                                                                     in every class, other than long-term
          claims, are paid in full in a shorter period of time. The term of this Plan shall not exceed sixty (60)
                                                                                                                  months. See 1 1 U.S.C. §§
          1325(b)(1)(B) and 1325(b)(4). Each pre-confirmation plan payment shall be reduced by any pre-confirma
                                                                                                                           tion adequate protection
          payments) made pursuant to Plan paragraph 6(A)(i) and § 1326(a)(1)(C).

                       The following alternative provision will apply if selected:

                       if CHECKED, Plan payments will increase by $                    in month   upon completion or termination of     .
          3. Claims Generally. The amounts listed for claims in this Plan are based upon Debtor's best estimate
                                                                                                                        and belief. An allowed proof
          of claim will be controlling, unless the Court orders otherwise. Objections to claims may be filed
                                                                                                             before or after confirmation.

          4. Administrative Claims. Trustee will pay in full allowed administrative claims and expenses pursuant to §507(a)(2) as set
                                                                                                                                      forth below, (
          unless the holder of such claim or expense has agreed to a different treatment of its claim.

                       (A). Trustee's Fees. Trustee shall receive a fee for each disbursement, the percentage of which is
                                                                                                                          fixed by the United States
          Trustee.



                   (B). Debtor's Attorney's Fees. Debtor and Debtor's attorney have agreed to a base attorney fee in
                                                                                                                            the amount of
         $ 3,900.00       for the services identified in the Rule 2016(b) disclosure statement filed in this case. The amount
                                                                                                                                 of $ 0,00      was
         paid prior to the filing of the case. The balance of the fee shall be disbursed by Trustee as follows:
                                                                                                                 (1) Upon the first disbursement of
         the plan following confirmation of a Plan, the Trustee shall disburse to Debtor's attorney from the proceeds
                                                                                                                          available and paid into the
         office of the Trustee by Debtor or on Debtor's behalf, up to $ 3,900.00        after the payment of adequate protection payments and
         administrative fees. The remaining balance of the fees shall be paid up to $ 562.00         per month until the fees are paid in full; (2) If
         the case is dismissed or converted prior to confirmation of the plan, the Trustee shall pay fees
                                                                                                            to Debtor's attorney from the proceeds
         available and paid into the office of the Trustee by Debtor or on Debtor's behalf, all funds remaining,
                                                                                                                   not to exceed $ 3,900.00 ,
         after payment of any unpaid filing fees, Trustee's fees and expenses, and adequate protection payments,
                                                                                                                      if applicable.

                       Debtor and Debtor's attorney have further agreed that Debtor's attorney may be paid for "non-base
                                                                                                                                 services" as they are
                      performed on an as-needed basis. These "non-base" services and the agreed fee for each are identified
                                                                                                                                        in paragraph 7 of the
                       Rule 2016(b) disclosure statement in this case. Upon completion of a "non-base" service, Debtor's
                                                                                                                                 attorney may file an        '
                      application with the Court, serving all parties-in-interest with notice of the application and providing
                                                                                                                                 an opportunity to be heard
                      on the matter. If no objection to the application is timely filed, the application will stand approved without
                                                                                                                                       further notice or
                      hearing. If the "non-base" fee is approved by the Court, the fee shall be added to the balance
                                                                                                                          of the unpaid base fee in this
                      case and paid in accordance with paragraph (B)(a) above, if the base fee has been paid in full,
                                                                                                                            the fee shall be paid up to
                      $562.00 per month, and the distributions to creditors shall be reduced pro rata by that amount
                                                                                                                           until the additional fee is paid
                      in full.




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             5. Priority Claims.

                         (A). Domestic Support Obligations.
 c
          1^1 None. If none, skip to Plan paragraph 5(B).

                                      (i). Debtor is required to pay all post-petition domestic support obligations directly
                                                                                                                             to the holder of the claim.

                                      (ii). The name(s) and address(es) of the holder of any domestic support obligation
                                                                                                                         are as follows. See 1 1 U.S.C. § §
                                      10 1(14A) and 1302(b)(6).

                                         I -NONE-

                                      (iii). Anticipated Domestic Support Obligation Arrearage Claims


                                          (a). Unless otherwise specified in this Plan, priority claims under 11 U.S.C. §
                                                                                                                          507(a)(1) will be paid in full
                                          pursuant to 1 1 U.S.C. § 1322(a)(2). These claims will be paid at the same
                                                                                                                     time as claims secured by personal
                                          property, arrearage claims secured by real property, and arrearage claims
                                                                                                                     for assumed leases or executory
                                          contracts.


               None; or


             (a)
                                                                                                               (b)                                                    (c)
             Creditor                                                                       Estimated arrearage                     Projected monthly arrearage
             (Name and Address)
                                                                                                            claim                                            payment
             -NONE-




                                          (b). Pursuant to §§ 507(a)(1)(B) and 1322(a)(4), the following domestic support
                                                                                                                          obligation claims are assigned to,
                                          owed to, or recoverable by a governmental unit.
(         [X) None; or
                                             Claimant and proposed treatment:         -NON6-

                     (B). Other Priority Claims (e.g., tax claims). All other allowed priority claims
                                                                                                       will be paid in full, but will not be funded until
          after all secured claims, lease arrearage claims, and domestic support claims are paid
                                                                                                  in full.

           (a)
           Creditor                                                                                                                                            (b)
                                                                                                                                                  Estimated claim
           Georgia Department of Revenue
                                                                                                                                                                232.00
           Internal Revenue Service
                                                                                                                                                            2,937.00

         6. Secured Qaims.


                       (A). Claims Secured by Personal Property Which Debtor Intends to Retain.


                                    (i). Pre-confinnation adequate protection payments. No later than 30 days after
                                                                                                                          the date of filing of this plan or the
                                    order for relief, whichever is earlier, the Debtor shall make the following adequate
                                                                                                                         protection payments to creditors
                                    pursuant to § 1326(a)(1)(C). If the Debtor elects to make such adequate protection
                                                                                                                            payments on allowed claims to the
                                    Trustee pending confirmation of the plan, the creditor shall have an administra
                                                                                                                       tive lien on such payments), subject
                                    to objection. If Debtor elects to make such adequate protection payments directly
                                                                                                                           to the creditor, Debtor shall
                                    provide evidence of such payment to the Trustee, including the amount and date
                                                                                                                          of the payment.




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                                   Debtor shall make the following adequate protection payments:

                                   I I directly to the creditor; or

                                   1^1 to the Trustee pending confirmation of the plan.


            (a)                                                            (b)                                                                                           (c)
            Creditor                                                                                                                            Adequate protection
                                                                           Collateral
                                                                                                                                                    payment amount
          Wfs Financial/Wachovia Dealer Srvs                               2005 Nissan Altima ( 170,000 miles apprl
                                                                                                                                                                    75.00



                                   (ii) . Post confirmation payments. Post-confirmation payments to creditors holding claims
                                                                                                                                   secured by personal property
                                   shall be paid as set forth in subparagraphs (a) and (b). If the Debtor elects to propose a different
                                                                                                                                        method of payment,
                                   such provision is set forth in paragraph (c).


                                        (a). Claims to Which § 506 Valuation is NOT Applicable. Claims listed in this subsection
                                                                                                                                            consist of debts
                                        secured by a purchase money security interest in a vehicle for which the debt was incurred
                                                                                                                                          within 910 days of
                                        filing the bankruptcy petition, or, if the collateral for the debt is any other thing of value, the
                                                                                                                                            debt was incurred
                                        within 1 year of filing. See § 1325(a)(5). After confirmation of the plan, the Trustee
                                                                                                                               will pay to the holder of each
                                        allowed secured claim the monthly payment in column (f) based upon the amount of the claim in
                                                                                                                                      column (d) with
                                        interest at the rate stated in column (e). Upon confirmation of the plan, the interest rate
                                                                                                                                    shown below or as
                                        modified will be binding unless a timely written objection to confirmation is filed and
                                                                                                                                   sustained by the Court.
                                        Payments distributed by the Trustee are subject to the availability of funds.

                                        C] None; or

                                                                                                  (c)                     (d)
          (a)                                   (b)                                                                                                                      CD
                                                                                               Purchase                Claim          (e)
          Creditor                                                                                                                                             Monthly
                                               Collateral
                                                                                                 date                 amount Interest rate                     payment
                                                                                               Opened
         Wfs
                                                                                             11/01/12 Last                                       $75.00 increasing             (
          Financial/Wachovia                   2005 Nissan Altima ( 170,000
                                                                                                Active                                           to $120.00 in July
          Dealer Srvs                          miles appr)
                                                                                                7/16/13         4,269.00     4.25%                       2014
                                        (b). Claims to Which § 506 Valuation is Applicable. Claims listed in this subsection
                                                                                                                                 consist of any claims
                                        secured by personal property not described in Plan paragraph 6(A)(ii)(a). After confirmation
                                                                                                                                        of the plan, the
                                        Trustee will pay to the holder of each allowed secured claim the monthly payment in column
                                                                                                                                        (f) based upon the
                                        replacement value as stated in column (d) or the amount of the claim, whichever is less,
                                                                                                                                  with interest at the rate
                                        stated in column (e). The portion of any allowed claim that exceeds the value indicated below
                                                                                                                                         will be treated as
                                        an unsecured claim. Upon confirmation of the plan, the valuation and interest rate shown
                                                                                                                                    below or as modified
                                        will be binding unless a timely written objection to confirmation is filed and sustained by the
                                                                                                                                        Court. Payments
                                        distributed by the Trustee are subject to the availability of funds.

                                       E<I None; or

                                                                                                  (c)                    (d)
         (a)                                   (b)                                                                                                                       (f)
                                                                                               Purchase        Replacement           (e)                       Monthly
         Creditor                              Collateral
                                                                                                 date                 value     Interest rate
                                                                                                                                                               payment
         -NONE-

                                       (c). Other provisions.




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                       (B). Claims Secured by Real Property Which Debtor Intends to Retain. Debtor
                                                                                                                will make all post-petition mortgage
              payments directly to each mortgage creditor as those payments ordinarily come due.
                                                                                                     These regular monthly mortgage payments, which
              may be adjusted up or down as provided for under the loan documents, are due beginning
                                                                                                            the first due date after the case is filed and
              continuing each month thereafter, unless this Plan provides otherwise. Trustee may
                                                                                                    pay each allowed arrearage claim at the monthly rate
    c         indicated below until paid in full. Trustee will pay interest on the mortgage arrearage
                                                                                                      if the creditor requests interest, unless an objection to
              the claim is filed and an order is entered disallowing the requested interest.


                                                                  (b)                                                           (c)                             (d)
                 (a)                                              Property        _                         Estimated pre-petition                Projected monthly
                 Creditor                                         description^                                           arrearage                arrearage payment
                                                                  9914 Scarlet Oak Drive
                 JP Morgan Chase & Co.                                                                                                     $1QQO.OQ increasing to
                                                                  DouqlasviHe, GA 30135                                 53,823.54            $1517.00 in July 2014

                        (C). Surrender of Collateral. Debtor will surrender the following collateral no later
                                                                                                               than thirty (30) days from the filing of the
              petition unless specified otherwise in the Plan. Any claim filed by a secured lien holder
                                                                                                        whose collateral is surrendered will be treated as
              unsecured. Any involuntary repossession/foreclosure prior to confirmation of this
                                                                                                  Plan must be obtained by a filed motion and Court order,
              unless the automatic stay no longer applies under § 362(c). Upon Plan confirmation,
                                                                                                      the automatic stay will be deemed lifted for the
              collateral identified below for surrender and the creditor need not file a Motion
                                                                                                  to Lift the Stay in order to repossess, foreclose upon or ,
              sell the collateral. Nothing herein is intended to lift any applicable co-Debtor stay,
                                                                                                     or to abrogate Debtor's state law contract rights.

                 (a)                                                                              (b)
               Creditor                                                                           Collateral to be surrendered
               -NONE-


              7. Unsecured Claims. Debtor estimates that the total of general unsecured debt not
                                                                                                 separately classified in Plan paragraph 10 is
              $ 1,715.54 After all other classes have been paid, Trustee will pay to the creditors
                                                                                                   with allowed general unsecured claims a pro rata
              share of $ 1,715.54 or 100 %, whichever is greater. Trustee is authorized to increase
                                                                                                      this dollar amount or percentage, if necessary, in
              order to comply with the applicable commitment period stated in paragraph 2 of this
                                                                                                  Plan.

             8. Executory Contracts and Unexpired Leases. The following executory contracts
                                                                                                       and unexpired leases are assumed, and payments due
             after the filing of the case will be paid directly by Debtor, not through Trustee, as
                                                                                                   set forth below in column (c).
    (                 Debtor proposes to cure any default by paying the arrearage on the assumed leases
                                                                                                         or contracts in the amounts projected in
             column (d) at the same time that payments are made to secured creditors. All other
                                                                                                executory contracts and unexpired leases of personal
             property are rejected upon conclusion of the confirmation hearing.

             E<] None; or

                                     (a)                                              (b)                  (c)                              (d)
                                Creditor                                     Nature of lease or    Payment to be paid      Projected arrearage monthly payment
                                                                        .    executory contract    directly by Debtor    through plan (for informational purposes)
              -NONE-


             9. Property of the Estate. Property of the estate shall not vest in Debtor until the
                                                                                                  earlier of Debtor's discharge or dismissal of this case,
             unless the Court orders otherwise.

             10. Other Provisions:

                          (A). Special classes of unsecured claims.

                          (B). Other direct payments to creditors.

                          (C). Other allowed secured claims: A proof of claim which is filed and allowed
                                                                                                              as a secured claim, but is not treated specifically
                               under the plan, shall be funded with     % interest as funds become available after satisfaction of the allowed secured claims
                               which have been treated by the plan and prior to payment of allowed non-administrative
                                                                                                                           priority claims (except domestic
                               support obligation claims as set forth in paragraph 5(A), above) and general unsecured
                                                                                                                         claims. Notwithstanding the
                               foregoing, the Debtor or any other party in interest may object to the allowance
                                                                                                                 of the claim.



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                         (D). Claims subject to lien avoidance pursuant to 11 U.S.C. §522(f):
                                                                                                        The allowed secured claim of each creditor listed below
                              shall not be funded until all allowed, secured claims which are
                                                                                                  being treated by the plan are satisfied. If an order is entered
                              avoiding the creditor's lien, that creditor's claim shall be treated as
                                                                                                      a general, unsecured claim to the extent it is not otherwise
                              secured by property of the estate and treated by the plan. To the extent
                                                                                                            that the creditor's lien is not avoided and is not     (
                              otherwise treated by the plan, the secured claim shall be funded as
                                                                                                      set forth in the above paragraph. This paragraph shall
                              apply to the following creditors:
                               -NONE-

                        (E). Other Provisions:

                               Any Federal tax refunds the Debtor Is entitled to receive during
                                                                                                 the applicable commitment period shall be paid into
                               the Debtors Chapter 13 case. Further, the Debtor authoriz
                                                                                            es and instructs the Internal Revenue Service to send any
                               refund for said years directly to the Debtor's Chapter 1 3 Trustee.

                               Upon written request to the Chapter 1 3 Trustee, the Debtor
                                                                                           may retain up to $1 ,500.00 of a tax refund without a
                               motion being filed.

                              Any fees, expenses, and charges asserted under Fed. R. Bankr.
                                                                                                P. 3002.1 (c) are not to be funded through the
                              Chapter 1 3 plan, and the Debtor will pay these post petition
                                                                                            expenses directly to the mortgage holder/servicer
                              unless they are disallowed by order of the court.



             Date    January 3, 2014                                        Signature   Is/ Gregory Lamar Almond
                                                                                        Gregory Lamar Almond
                                                                                        Debtor


             Date January 3, 2014                                           Signature Is/ Shannon Smith GA Bar No.
                                                                                      Shannon Smith GA Bar No. 733895
                                                                                      Attorney
                                                                                        The Cochran Firm
                                                                                        127 Peachtree Street, NE
                                                                                        Suite 700
                                                                                        Atlanta, GA 30303                                                               c
                                                                                        888-777-4910 Fax:404-577-0660




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                                UNITED STATES OF AMERICA
                              DEPARTMENT OF THE TREASURY
                             COMPTROLLER OF THE CURREN
                                                         CY



  In the Matter of:
                                                         )
                                                         )
  JPMorgan Chase Bank, N.A.
                                                         )             AA-EC-U-15
  New York, NY
                                                         )
                                                         )
                                                         )



                                        CONSENT ORDER

         The Comptroller of the Currency of the
                                                United States of America ("Comptroller"
                                                                                        ),
 through his national bank examiners and
                                         other staff of the Office of the Comptroller
                                                                                      of the
 Currency ("OCC"), as part of an interagenc
                                            y horizontal review of major residential
                                                                                     mortgage

 servicers, has conducted an examination of
                                            the residential real estate mortgage foreclosur
                                                                                            e
 processes of JPMorgan Chase Bank, NA.
                                       , New York, New York ("Bank"). The OCC
                                                                              has
 identified certain deficiencies and unsafe
                                            or unsound practices in residential mortgage
                                                                                         servicing
 and in the Bank's initiation and handling of
                                              foreclosure proceedings. The OCC has inform
                                                                                          ed the
Bank of the findings resulting from the exam
                                             ination.

        The Bank, by and through its duly elect
                                                ed and acting Board of Directors ("Board"),
                                                                                            has
executed a "Stipulation and Consent to the
                                           Issuance of a Consent Order," dated Apri
                                                                                    l 13, 201 1
("Stipulation and Consent"), that is accep
                                          ted by the Comptroller. By this Stipulation
                                                                                      and
Consent, which is incorporated by reference,
                                             the Bank has consented to the issuance of
                                                                                       this
Consent Cease and Desist Order ("Order")
                                         by the Comptroller. The Bank has comm
                                                                               itted to
talcing all necessary and appropriate steps
                                            to remedy the deficiencies and unsafe or
                                                                                     unsound
practices identified by the OCC, and to enha
                                             nce the Bank's residential mortgage servi
                                                                                       cing and




                                                                                     fit f . " /
                                                                            6*
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  foreclosure processes. The Bank has begun
                                            implementing procedures to remediate the pract
                                                                                           ices
  addressed in this Order.
                                              .                                   .




                                              ARTICLE I

                                   COMPTROLLER'S FINDINGS

         The Comptroller finds, and the Bank neith
                                                   er admits nor denies, the following:

         (1) The Bank is among the largest servicers
                                                     of residential mortgages in the United States,

 and services a portfolio of 6,300,000 resid
                                             ential mortgage loans. During the recent hous
                                                                                           ing
 crisis, a substantially large number of resid
                                               ential mortgage loans serviced by the Bank
                                                                                          became

 delinquent and resulted in foreclosure action
                                               s. The Bank's foreclosure inventory grew

 substantially from 2008 through 2010.


        (2) In connection with certain foreclosure
                                                   s of loans in its residential mortgage servicing

portfolio, the Bank:


                (a) filed or caused to be filed in state and
                                                             federal courts affidavits executed by its

employees or employees of third-party servic
                                             e providers making various assertions, such
                                                                                         as
ownership of the mortgage note and mortgage,
                                             the amount of the principal and interest due,
                                                                                           and
the fees and expenses chargeable to the borro
                                              wer, in which the affiant represented that the

assertions in the affidavit were made based
                                            on personal knowledge or based on a revie
                                                                                     w by the

affiant of the relevant books and records, when
                                                , in many cases, they were not based on such

personal knowledge or review of the relev
                                          ant books and records;

           —^ (b) filed or caused to be filed in state and feder
                                                                 al courts, or in local land records
offices, numerous affidavits or other mortgage-r
                                                 elated documents that were not properly

notarized, including those not signed or affirm
                                                ed in the presence of a notary;




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                (c) litigated foreclosure proceedings and initiated nori-judicial foreclos
                                                                                           ure

 proceedings without always ensuring that either the promissory note
                                                                     or the mortgage document

 were properly endorsed or assigned and, if necessary, in the possess
                                                                      ion of the appropriate party

 at the appropriate time;


                (d) failed to devote sufficient financial, staffing and managerial resource
                                                                                            s to

 ensure proper administration of its foreclosure processes;


                (e) failed to devote to its foreclosure processes adequate oversigh
                                                                                    t, internal

 controls, policies, and procedures, compliance risk management, internal
                                                                          audit, third party

management, and training; and


                (f) failed to sufficiently oversee outside counsel and other third-pa
                                                                                      rty providers

handling foreclosure-related services.

        (3) By reason of the conduct set forth above, the Bank engaged in unsafe
                                                                                 or unsound

banking practices.

        Pursuant to the authority vested in him by the Federal Deposit Insuranc
                                                                                e Act, as

amended, 12 U.S.C. § 181 8(b), the Comptroller hereby ORDERS that:




                                           ARTICLE II

                                 COMPLIANCE COMMITTEE


       (1) The Board shall maintain a Compliance Committee of at least three
                                                                             (3) directors, of

which at least two (2) may not be employees or officers of the Bank
                                                                    or any of its subsidiaries or

affiliates. In the event of a change of the membership, the name of any
                                                                        new member shall be

submitted to the Examiner-in-Charge for Large Bank Supervision at
                                                                  the Bank ("Examiner-in-

Charge"). The Compliance Committee shall be responsible for monitor
                                                                    ing and coordinating the




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 Bank's compliance with the provisions of this Order. The Compli
                                                                 ance Committee shall meet at

 least monthly and maintain minutes of its meetings.
                                                                                     .

          . (2) Within ninety (90) days of this Order, and within thirty (30)
                                                                              days after the end of

 each quarter thereafter, the Compliance Committee shall submit
                                                                a written progress report to the

Board setting forth in detail actions taken to comply with each Article
                                                                        of this order, and the

results and status of those actions.


           (3) The Board shall forward a copy of the Compliance Commi
                                                                      ttee's report, with any

additional comments by the Board, to the Deputy Comptroller
                                                            for Large Bank Supervision

("Deputy Comptroller") and the Examiner-in-Charge within ten
                                                             (10) days of receiving such

report.




                                             ARTICLE III

                                 COMPREHENSIVE ACTION PLAN

          (1) Within sixty (60) days of this Order, the Bank shall submit
                                                                          to the Deputy

Comptroller and the Examiner-in-Charge an acceptable plan contain
                                                                  ing a complete description

of the actions that are necessary and appropriate to achieve complia
                                                                     nce with Articles IV through

XII of this Order ("Action Plan"). In the event the Deputy Comptr
                                                                  oller asks the Bank to revise

the Action Plan, the Bank shall promptly make the requested revision
                                                                     s and resubmit the Action

Plan to the Deputy Comptroller and the Examiner-in-Charge. Follow
                                                                 ing acceptance of the

Action Plan by the Deputy Comptroller, the Bank shall not take
                                                               any action that would constitute

a significant deviation from, or material change to, the requirem
                                                                 ents of the Action Plan or this

Order, unless and until the Bank has received a prior written determ
                                                                    ination of no supervisory

objection from the Deputy Comptroller.                       .




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         (2) The Board shall ensure that the Bank achieves and thereafter maintain
                                                                                  s compliance

 with this Order, including, without limitation, successful implementation
                                                                           of the Action Plan.

 The Board shall further ensure that, upon implementation of the Action
                                                                        Plan, the Bank achieves

 and maintains effective mortgage servicing, foreclosure, and loss mitigati
                                                                            on activities (as used

 herein, the phrase "loss mitigation" shall include, but not be limited
                                                                        to, activities related to

 special forbearances, modifications, short refinances, short sales, cash-for
                                                                              -keys, and deeds-iii-

 lieu of foreclosure and be referred to as either "Loss Mitigation" or "Loss
                                                                             Mitigation

Activities"), as well as associated risk management, compliance, quality
                                                                         control, audit, training,

staffing, and related functions. In order to comply with these requirements,
                                                                             the Board shall:

                   (a) require the timely reporting by Bank management of such actions
                                                                                       directed by

the Board to be taken un(ler this Order;

                (b) follow-up on any non-compliance with such actions in a timely
                                                                                  and

appropriate manner; and


                (c) require corrective action be taken in a timely manner for any non-com
                                                                                          pliance

with such actions.

         (3) The Action Plan shall address, at a minimum:

                (a) financial resources to develop and implement an adequate infrastru
                                                                                       cture to

support existing and/or future Loss Mitigation and foreclosure activitie
                                                                         s and ensure compliance

with this Order;

                (b) organizational structure^ managerial resources, and staffing to
                                                                                    support

existing and/or future Loss Mitigation and foreclosure activities and
                                                                      ensure compliance with this

Order;




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                 (c) metrics to measure and ensure the adequacy of staffing
                                                                            levels relative to

 existing and/or future Loss Mitigation and foreclosure activitie
                                                                  s, such as limits for the number of

 loans assigned to a Loss Mitigation employee, including the
                                                             single point of contact as hereinafter

 defined, and deadlines to review loan modification docum
                                                          entation, make loan modification

 decisions, and provide responses to borrowers;


                 (d) governance and controls to ensure compliance with all
                                                                           applicable federal and

 state laws (including the U.S. Bankruptcy Code and the Service
                                                                members Civil Relief Act

("SCRA")), rules, regulations, and court orders and requirements,
                                                                  as well as the Membership

Rules of MERSCORP, servicing guides of the Government
                                                      Sponsored Enterprises (uGSEs") or

investors, including those with the Federal Housing Admin
                                                          istration and those required by the

Home Affordable Modification Program ("HAMP"), and
                                                   loss share agreements with the Federal

Deposit Insurance Corporation (collectively "Legal Requir
                                                          ements"), and the requirements of this

Order.


         (4) The Action Plan shall specify timelines for completion
                                                                    of each of the requirements of

Articles IV through XII of this Order. The timelines in the
                                                            Action Plan shall be consistent with

any deadlines set forth in this Order.




                                           ARTICLE IV


                                   COMPLIANCE PROGRAM

         (1) Within sixty (60) days of this Order, the Bank shall submit
                                                                         to the Deputy

Comptroller and the Examiner-in-Charge an acceptable complia
                                                             nce program to ensure that the

mortgage servicing and foreclosure operations, including Loss
                                                              Mitigation and loan modification,

comply with all applicable Legal Requirements, OCC superv
                                                          isory guidance, and the




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     requirements of this Order and are conducted in a safe
                                                            and sound manner ("Compliance

     Program")- The Compliance Program shall be implemented within
                                                                   one hundred twenty (120)
     days of this Order. Any corrective action timeframe
                                                         in the Compliance Program that is in excess

     of one hundred twenty (120) days must be approved
                                                       by the Examiner-in-Charge. The

     Compliance Program shall include, at a minimum:


                     (a) appropriate written policies and procedures to conduc
                                                                               t, oversee, and monitor

     mortgage servicing, Loss Mitigation, and foreclosure operat
                                                                 ions;

ISHHHB&             (b) processes to ensure that all factual assertions made in pleadings, declarations,
                                                             '
     affidavits, or other sworn statements filed by or on
                                                          behalf of the Bank are accurate, complete,

     and reliable; and that affidavits and declarations are based
                                                                  on personal knowledge or a review of

    the Bank's books and records when the affidavit or declar
                                                              ation so states;

                    (c) processes to ensure that affidavits filed in foreclo
                                                                             sure proceedings axe

    executed and notarized in accordance with state legal
                                                          requirements and applicable guidelines,

    including jurat requirements;


                    (d) processes to review and approve standardized affidav
                                                                            its and declarations for

    each jurisdiction in which the Bank files foreclosure
                                                          actions to ensure compliance with

    applicable laws, rules and court procedures;


                    (e) processes to ensure that the Bank has properly docum
                                                                            ented ownership of the

    promissory note and mortgage (or deed of trust) under
                                                          applicable state law, or is otherwise a

    proper party to the action (as a result of agency or other
                                                               similar status) at all stages of foreclosure

    and bankruptcy litigation, including appropriate transfe
                                                             r and delivery of endorsed notes and

   assigned mortgages or deeds of trust at the formation
                                                         of a residential mortgage-backed security,




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and lawful and verifiable endorsement and successive assignment of the
                                                                       note and mortgage or

deed of trust to reflect all changes of ownership;

               (f) processes to ensure that a clear and auditable trail exists for all factual

information contained in each affidavit or declaration, in support of each
                                                                           of the charges that are

listed, including whether the amount is chargeable to the borrower and/or
                                                                          claimable by the

investor;


               (g) processes to ensure that foreclosure sales (including the calculat
                                                                                     ion of the

default period, the amounts due, and compliance with notice requirem
                                                                     ents) and post-sale

confirmations are in accordance with the terms of the mortgage loan and
                                                                        applicable state and

federal law requirements;


               (h) processes to ensure that all fees, expenses, and other charges imposed
                                                                                          on the

borrower are assessed in accordance with the terms of the underlying
                                                                     mortgage note, mortgage,

or other customer authorization with respect to the imposition of fees,
                                                                        charges, and expenses, and

in compliance with all applicable Legal Requirements and OCC supervis
                                                                      ory guidance;

               (i) processes to ensure that the Bank has the ability to locate and secure
                                                                                          all

documents, including the original promissory notes if required, necessa
                                                                       ry to perform mortgage

servicing, foreclosure and Loss Mitigation, or loan modification function
                                                                          s;

               (j) ongoing testing for compliance with applicable Legal Requirements
                                                                                     and OCC

supervisory guidance that is completed by qualified persons with requisite
                                                                           knowledge and ability

(which may include internal audit) who are independent of the Bank's
                                                                     business lines;

               (k) measures to ensure that policies, procedures, and processes are
                                                                                   updated on an

ongoing basis as necessaiy to incoiporate any changes in applicable
                                                                    Legal Requirements and

OCC supervisory guidance;




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                 (1) processes to ensure the qualifications of curre
                                                                     nt management and supervisory

 personnel responsible for mortgage servicing
                                              and foreclosure processes and operations, includ
                                                                                               ing
 collections, Loss Mitigation and loan modificatio
                                                   n, are appropriate and a determination of

 whether any staffing changes or additions are neede
                                                     d;

                 (m) processes to ensure that staffing levels devot
                                                                   ed to mortgage servicing and

 foreclosure processes and operations, includ
                                              ing collections, Loss Mitigation, and loan

 modification, are adequate to meet current and
                                                expected workload demands;

                 (n) processes to ensure that workloads of mortg
                                                                 age servicing, foreclosure and

 Loss Mitigation, and loan modification personnel,
                                                   including single point of contact personnel as

 hereinafter defined, are reviewed and managed.
                                                Such processes, at a minimum, shall assess

 whether the workload levels are appropriate
                                             to ensure compliance with the requirements
                                                                                        of

 Article IX of this Order, and necessary adjus
                                               tments to workloads shall promptly follow the

completion of the reviews. An initial review shall
                                                   be completed within ninety (90) days of this

Order, and subsequent reviews shall be conducted
                                                 semi-annually;

                (o) processes to ensure that the risk manageme
                                                              nt, quality control, audit, and

compliance programs have the requisite autho
                                             rity and status within the organization so that

appropriate reviews of the Bank's mortgage
                                           servicing, Loss Mitigation, and foreclosure activi
                                                                                              ties

and operations may occur and deficiencies axe
                                              identified and promptly remedied;

                (p) appropriate training programs for personnel
                                                                involved in mortgage servicing

and foreclosure processes and operations, includ
                                                 ing collections, Loss Mitigation, and loan

modification, to ensure compliance with applic
                                               able Legal Requirements and supervisory

guidance; and




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                 (q) appropriate procedures for customers
                                                          in bankruptcy, including a prohibition

  on collection of fees in violation of bank
                                            ruptcy's automatic stay (11 U.S.C. §
                                                                                 362), the discharge

  injunction (11 U.S.C. § 524), or any appl
                                            icable court order.




                                             ARTICLE V


                                 THIRD PARTY MANAGEMENT

         (1) Within sixty (60) days of this Orde
                                                 r, the Bank shall submit to the Deputy

 Comptroller and the Examiner-in-Charge
                                        acceptable policies and procedures for
                                                                               outsourcing
 foreclosure or related functions, inclu
                                         ding Loss Mitigation and loan modificat
                                                                                 ion, and property

 management functions for residential real
                                           estate acquired through or in lieu of forec
                                                                                       losure, to any
 agent, independent contractor, consulting
                                           firm, law firm (including local counsel
                                                                                   in foreclosure
 or bankruptcy proceedings retained to repre
                                             sent the interests of the owners of mort
                                                                                      gages),
 property management firm, or other third
                                          -party (including any affiliate of the Bank
                                                                                      ) ("Third-
 Party Providers"). Third-party managem
                                        ent policies and procedures shall be imple
                                                                                  mented within
 one hundred twenty (120) days of this
                                       Order. Any corrective action timetable
                                                                              that is in excess of
one hundred twenty (120) days must be
                                      approved by the Examiner-in-Charge.
                                                                          The policies and
procedures shall include, at a minimum
                                       :

               (a) appropriate oversight to ensure that
                                                        Third-Party Providers comply with all

applicable Legal Requirements, OCC
                                   supervisory guidance (including appl
                                                                        icable portions of

OCC Bulletin 2001-47), and the Bank's
                                      policies and procedures;

               (b) measures to ensure that all original
                                                        records transferred from the Bank to

Third-Party Providers (including the origi
                                           nals of promissory notes and mortgage
                                                                                 documents)
remain within the custody and control
                                      of the Third-Party Provider (unless filed
                                                                                with the




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          (8) This Order is intended to be, and shall
                                                      be construed to be, a final order issued

  pursuant to 12 U.S.C. § 1818(b), and
                                       expressly does not form, and may not
                                                                            be construed to form,
  a contract binding the Comptroller or the
                                            United States. Nothing in this Order shall
                                                                                       affect any
  action against the Bank or its institution-af
                                                filiated parties by a bank regulatory agen
                                                                                           cy, the
  United States Department of Justice, or
                                          any other law enforcement agency, to the
                                                                                   extent
 permitted under applicable law.


         (9) The terms of this Order, including
                                                this paragraph, are not subject to amendm
                                                                                          ent or
 modification by any extraneous expressio
                                          n, prior agreements, or prior arrangements
                                                                                     between the
 parties, whether oral or written.


         (10) Nothing in the Stipulation and Cons
                                                 ent or this Order, express or implied,
                                                                                        shall give
 to any person or entity, other than the
                                         parties hereto, and their successors here
                                                                                  under, any benefit
 or any legal or equitable right, remedy
                                         or claim under the Stipulation and Cons
                                                                                 ent or this Order.
        (1 1) The Bank consents to the issuance
                                                of this Order before the filing of any
                                                                                       notices, or
taking of any testimony or adjudication,
                                         and solely for the purpose of settling
                                                                                this matter without
a formal proceeding being filed.




IT IS SO ORDERED, this 13th day of April, 2011
                                               .




  /si
Sally G. Belshaw
Deputy Comptroller
Large Bank Supervision




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                       IN THE SUPERIOR COURT OF DOUGLAS COUNTY


                                      STATE OF GEORGIA




GREG & JOCELYN ALMOND                               CIVIL ACTION NO.: 18-CV-00150


                 Plaintiff,


VS.
                                                    [PLEADING TITLE]



THE BANK OF NEW YORK MELLON, AS


TRUSTEE


                 Defendant




                                           CERTIFIICATE OF SERVICE


                 I, the undersigned, hereby certify that I have this day served a copy of the


Plaintiffs' SUPPLEMENTAL BRIEF IN SUPPORT OF COMPLAINT which was filed in the Superior


Court of Douglas County Georgia on the                 day of February, 2018, in the manner


indicated.


                 The following Parties have been served via U.S. Mail:


Cc: McCalla Raymer Leibert Pierce, LLC
      1544 Old Alabama Road
      Roswell, Georgia 30076
      (678) 281-6508
      Gregory .Krivo @mccalla.com




I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOLLOWING IS TRUE AND CORRECT


                  Dated this          of February, 2018.




                                                   GREG L. ALMOND, FILED PRO SE
